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                                            October 20, 2014
via: email & overnight delivery
Ms. Susan Gilmore Fultz
Deputy Regional Director
Employee Benefits Security Administration
Ft. Wright Executive Building 1
1885 Dixie Highway
Ft. Wright, KY 41011-2664
CONFIDENTIAL

Re:       VA W-Chrys/er National Training Center

Dear Ms. Fultz:

       We are writing on behalf of our client UAW-Chrysler National Training Center (the
"Center"), in response to your August 7, 2014 letter to Mr. Jerome Hill, Counsel for the Center.

        Your letter indicates that pursuant to the Secretary of Labor's authority under the Employee
Retirement Income Security Act of 1974 ("ERISA"), the Employee Benefits Security Administration
("EBSA") seeks to undertake an investigation of the Center, including review of a number of
documents listed in your letter and interviews with representatives of the Center, which the letter
characterizes as an employee benefit plan.

         As we have described in intervening telephone conversations with EBSA Investigator
 Meghann Wilkinson, it is the Center's position, based on the factual circumstances concerning its
 structure and operation, that the Center is not an "employee benefit plan" within the meaning of
 ERISA, and hence does not fall within the jurisdiction of EBSA. The Center exists as part of a
 protocol for cooperation between International Union, United Automobile, Aerospace and
 Agricultural Implement Workers of America ("UAW") and Chrysler Group LLC (the "Company") in
 conducting various activities, none of which, nor the Center itself, constitutes an employee benefit
 plan. Accordingly,jurisdiction for the investigation proposed in your letter is lacking, and we request
 that EBSA's request be withdrawn.

                                                                                                             Lansing Office:
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                                  ATTORN        VS      PRACTICING                                      Lansing, Ml 48933
 00508546.DOC-4         PENSION      AND       MPLOYEE              BENEFITS   LAW                        tel: 51 7 324•4222
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        This letter is intended, at Ms. Wilkinson's request, to describe and substantiate the factual
and legal basis for the above conclusion in detail, with supporting documentation.
         Because the Center's activities are diverse, a complete analysis requires enumerating and
providing analysis for each such activity separately regarding its status under ERISA's definition of
"employee benefit plan." This response proceeds by, first, providing a brief description of the
Center's background and history, followed by a summary of relevant legal authorities. A detailed
enumeration of the the Center's activities is then presented, with analysis as to the status of each such
activity under ERISA's definition of "employee benefit plan." Finally, attached to this letter is a set
of exhibits, comprising documents that support the factual descriptions in the letter itself, and which
are referenced where appropriate herein.
THE CENTER: BACKGROUND AND DESCRIPTION
        The Center was organized in 1986 as a not-for-profit corporation, pursuant to a Memorandum
of Understanding (the "MOU") between UAW and Chrysler Corporation, the corporate predecessor
of the Company. On November 30, 1986, the Internal Revenue Service issued an exemption letter to
the Center, setting forth the Center's tax-exempt status under Section 50I(c)(S) of the Internal
Revenue Code. (See Exhibits: "Constitutive Documents" Items I, 2 and 3.)
        As indicated in the MOU, the object of the Center is to facilitate cooperation between UAW
and the Company across a broad range of activities, specific types of which have over the years been
added to or removed from the Center's mssion. Currently the following activities, each of which is
discussed and explained in greater detail below and in relevant exhibits to this letter, are conducted
through or under the auspices of the Center (each separate activity will be referred to hereafter as an
"Activity"):
         •       New Hire Orientation
         •       Publications
         •       Artist at Work Exhibition
         •       Diversity Activities
         •       Workplace Violence Prevention
         •       World Class Manufacturing Academy ("WCMA")
         •       Health and Safety Training and Research
         •       Tuition Assistance Program ("TAP")
         •       Circle of Life Network
         •       Employee Assistance Program ("EAP")
         •       Miscellaneous ad hoc additional conferences
       Other activities which have in the past been conducted by the Center, but are not being
conducted currently, are:
          •      Apprenticeship Program (discontinued approximately 2003), which provided
                 opportunities for employees to gain certification in skilled trades.
          •      Product Quality Improvement Partnership (discontinued 2009), which involved ad hoc
                 instructional sessions conducted by at local facilities, including Company manufacturing




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                 plants and other facilities, intended to to improve the quality of Company goods and
                 services.
         •       Regional Training Centers

         The Center is financed exclusively by means of monthly cash transfers made directly by the
Company. Employees do not contribute to the Center's finances, either by wage withholding or
otherwise. The amount of each month's Company contribution to the Center is intended to reflect as
closely as practicable the Center's expected expenses for the immediately ensuing month. Pursuant to
a letter agreement signed February 17, 2009, the Company and UAW, "the costs associated with
running the Center are now reduced to expense based draw requests." 1 (In a second letter agreement,
dated May 2, 2011, the Company and UAW reiterated the continuing effect of this arrangement for
an additional eight-year period, through the term of the 2015 collective bargaining agreement
between the Company and the Center.)

         Accordingly, the Center does not accumulate financial assets over time; its available cash is
managed so as typically to represent the amount necessary, as of any given date, to meet its expected
outlays for approximately the next 30-60 days. UAW, the Company and the Center periodically
confer to adjust or redetermine the basis for monthly transfers so as more closely and immediately to
reflect the Center's actual monthly needs. (In addition, the Company and the Center occasionally
agree upon new joint programs or initiatives and, in such cases, adjust the monthly fund transfers to
reflect the cost thereof.)

       Exhibits regarding "Funding," attached to this letter, contain detailed account statements
which evidence the pass-through effect of this financing system for March through August of 2014,
which is a representative period.

        With respect to those Activities for which "participation" has meaning, individuals
participate by virtue of their status as employees of the Company. The Center does not believe
employees have any legal right to sue or otherwise enforce directly against the Center their right to
participate in any Activity.

DISCUSSION
         Legal Authorities
        Section 3(3) of ERISA defines an "employee benefit plan" as a plan that is either an
"employee welfare benefit plan" or an "employee pension benefit plan" or both. There does not
appear to be any question that neither the Center nor any of its Activities is a "pension plan" within
the meaning of ERISA. Therefore, the central issue for present purposes is whether the Center or an
Activity is an "employee welfare benefit plan" within the meaning of ERISA.




1
 Originally, pursuant to the MOU, the Center was financed in part by reference to amounts made available under a
definite formula based on overtime hours worked by members of UAW. Pursuant to the above-referenced
subsequent letter agreements between the Company and UAW, however, this arrangement was changed to the
purely expense-based approach described above, which continues in effect today.




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         ERISA Section 3(1) defines "employee welfare benefit plan" as follows:

         ( l) The terms "employee welfare benefit plan" and "welfare plan" mean any plan, fund, or
         program which was heretofore or is hereafter established or maintained by an employer or by
         an employee organization, or by both, to the extent that such plan, fund, or program was
         established or is maintained for the purpose of providing for its participants or their
         beneficiaries, through the purchase of insurance or otherwise,

                 (A) medical, surgical, or hospital care or benefits, or benefits in the event of sickness,
                 accident, disability, death or unemployment, or vacation benefits, apprenticeship or
                 other training programs, or day care centers, scholarship funds, or prepaid legal
                 services, or

                 (B) any benefit described in section 186 (c) of this title (other than pensions on
                 retirement or death, and insurance to provide such pensions).

The above reference to benefits described in Section 186(c) of Title 29 refers to Section 302(c) of the
Labor Management Relations Act ("LMRA"). As has been provided by regulation promulgated by
the Department of Labor ("DOL"):

         Section 302(c) of the LMRA lists exceptions to the restrictions contained in subsections (a)
         and (b) of that section on payments and loans made by an employer to individuals and groups
         representing employees of the employer. Of these exceptions, only those contained in
         paragraphs (5), (6), (7) and (8) describe benefits provided through employee benefit plans.
         Moreover, only paragraph (6) describes benefits not described in section 3(1)(A) of the Act.
         The benefits described in section 302(c)(6) of the LMRA but not in section 3(l)(A) of the
         Act are ""' "' "' holiday, severance or similar benefits". Thus, the effect of section 3( 1)(B) of
         the Act is to include within the definition of "welfare plan" those plans which provide
         holiday and severance benefits, and benefits which are similar (for example, benefits which
         are in substance severance benefits, although not so characterized).
         DOL Reg. 2510.3-l(a)(3).

       The ERISA definition has been elaborated in various court decisions, as well as DOL
guidance. In the seminal case of Donovan v. Dillingham, 688 F .2d 1367 (11th Cir. 1982), the Court of
Appeals for the Eleventh Circuit held that:

          [A] "plan, fund, or program" under ERISA is established if from the surrounding
          circumstances a reasonable person can ascertain the intended benefits, a class of
          beneficiaries, the source of financing, and procedures for receiving benefits. To be an
          employee welfare benefit plan, the intended benefits must be health, accident, death,
          disability, unemployment or vacation benefits, apprenticeship or other training programs, day
          care centers, scholarship funds, prepaid legal services or severance benefits; the intended
          beneficiaries must include union members, employees, former employees or their
          beneficiaries; and an employer or employee organization, or both, and not individual
          employees or entrepreneurial businesses, must establish or maintain the plan, fund, or
          program.
          Id. at 1373.




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The Dillingham case involved the purchase of insurance; the Court of Appeals held that the insurance
company or policy was itself at most only ''a method of implementing a plan, fund, or program ...
but is not itself a plan." Id. at 1375.

        All the other U.S. Courts of Appeals, including the Court of Appeals for the Sixth Circuit,
whose jurisdiction includes the Center, have adopted the Dillingham analysis for determining the
existence of a "plan, fund or program." See Int'/ Resources Inc. v. New York Life Ins. Co., 950 F.2d
294 (61h Cir. 1992); Hughes v. Zurz, unpublished decision, 298 Fed. Appx. 404, 2008 U.S. App.
LEXIS 24758 (6 1h Cir. 2008).

         Federal courts have also considered the meaning of the terms "fund," or "funded," in the
context of determining whether a welfare benefit plan exists within the meaning of ERISA. For
example, in Wright Elec. v. Minn. State Bd. of Elec., 2002 U.S. Dist. LEXIS 5783, 27 EBC 2533 (D.
Minn. 2002); aff'd 322 F.3d I 025 (8 1h Cir. 2003), the court determined that an employer's apprentice
plan, financed through a separate foundation whose expenses were borne by the employer, was not
"funded" because the foundation did not generally accumulate assets, but rather simply served as a
pass-through financing entity. The court concluded that "This type of funding scheme is simply not
the kind that Congress intended to sanction through ERISA." Id. at 16. Wright, and additional cases
involving similar circumstances, are discussed in greater detail below in the context of the Center's
tuition assistance ("TAP") Activity.

         Summary Analysis

        None of the Activities conducted through the Center constitutes an "employee benefit plan"
under ERISA under the above authorities. Even if any Activity were an employee benefit plan within
the meaning of ERISA, that would not mean the Center, itself, is a "plan" under ERISA. The Center
is an organization that carries out a cooperative protocol between the Company and UAW. As with
the insurance policy at issue in the Dillingham case, the Center could, as a matter of logic, at most be
only "a method of implementing a plan, fund, or program ... not itself a plan."

        A number of Activities, such as Publications or Diversity Activities, clearly do not involve
the extension to any employee or beneficiary of anything that could be characterized as an "employee
benefit" within the meaning of ERISA. These include, most straightforwardly, such Activities as
Publications or Diversity Activities. Other Activities, such as health and safety training, for example,
involve employee instruction on matters immediately relevant to proper performance of employees'
jobs. These Activities are analogous to any employer's instructing any employee as to how he or she
is expected to perform his or her assigned tasks - simply formalized in the present case, and on a
large scale. Such instruction cannot be characterized as an "employee benefit" within the meaning of
ERISA.

        To the extent any Activities could be characterized as extending such a benefit such as
"training," they do not meet the definition of a "plan, fund or program" under the Dillingham test.
The WCMA, for example, involves ad hoc, single-purpose training events as requested by the
Company. In no sense would those "benefits," if they are such, be reasonably ascertainable in
advance.




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        The Center itself, meanwhile, is simply an establishment for administering and facilitating
the Activities, and is in no sense itself a "plan, program or fund," as interpreted in the above
authorities. It is not a "plan": ascertainable "Center benefits" do not exist. Nor is the Center a "fund:"
No money is accumulated for employee benefit plan purposes, and no employee or beneficiary has
any interest in Company or Center funds pursuant to any Activity. As discussed further, below, in the
context of TAP, the case authority and the DOL's own guidance, outlined above, preclude the
conclusion that a "pass-through" entity such as the Center could give rise to a "funded" plan.

      We also note the existence of another potentially relevant regulatory provision, DOL. Reg. 29
CFR §2510.3-1 (b )(i), which provides:

         (i) Industry advancement programs. For purposes of Title I of the Act and this chapter, the
         terms "employee welfare benefit plan" and "welfare plan" shall not include a program
         maintained by an employer or group or association of employers, which has no employee
         participants and does not provide benefits to employees or their dependents, regardless of
         whether the program serves as a conduit through which funds or other assets are channelled
         to employee benefit plans covered under Title I of the Act.

This exception appears to apply by its terms to all or most of the Center's Activities.

         Detailed Analysis by Activity
        A number of the Center's Activities can be ruled out fairly immediately, in the Center's view,
as employee benefit plans within the meaning of ERISA. These most evident cases are discussed first
as a miscellaneous group, below.

        A second category of Activities that are instructional in nature - WCMA and Health and
Safety Training and Research - are discussed next.

        The remaining three Activities -Tuition Assistance Program, Circle of Life Network, and
Employee Assistance Program - bear individualized analysis and are discussed in turn after the
discussion of the other Activities.

                                   MISCELLANEOUS ACTIVITIES

        I. New Hire Orientation: The Center conducts 1-2 day orientation sessions for newly hired
Company hourly employees represented by UAW who are based in the southeast Michigan region.
(Other new employees receive orientation provided by their local Company plants.) These sessions
are typically held at the Center or at the NTC's specially dedicated WCMA facility in Warren,
Michigan.

       2. Publications: The Center produces several employee-oriented publications, including
Tomorrow Magazine, on an ad hoc basis (Tomorrow being published on roughly a quarterly
schedule).

       3. Artist at Work Exhibition: This is an annual Activity pursuant to which Company
employees are invited to submit works of art they have created to a jury of art judges; winning
artwork is exhibited at the Center and at the WCMA facility in Warren, Michigan.




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         4. Diversity Activities: The Center conducts 1-2 day training sessions on developing and
valuing diversity within the workplace, including sensitivity training aimed at gender, racial and
other issues. These sessions are ad hoc in nature; can involve selected employees from a variety of
sites or occasionally an entire plant or shift.

         5. Workplace Violence Prevention Program: Similarly to its Diversity Activities, the Center
conducts 1-2 day, "train-the-trainer" sessions aimed at reducing the risk of workplace violence. Like
the Diversity Activities, these sessions are ad hoc in nature and typically involve selected employees
selected to participate from specific plants, and who are expected to put in place in their plants the
techniques learned at the Center.

         6. Miscellaneous Other Conferences and Events Coordinated by the Center:
                 Youth School-to-Work Program
                 Union and Company Awareness Program
                 Employee Participation Conference
                 Ergonomics Classes
                 Health Awareness Conference
                 Local Training Facilitator Program
                 National Paid Education Leave Program

       In the Center's view, none of the above Activities involves the threshold concept of an
"employee benefit" within the meaning of ERISA - let alone an employee benefit "plan, fund or
program." In particular, none of these Activities provides even arguably, in the Center's view, any of
the benefits in the enumerated list in ERISA Section 3(1 ).

                                  INSTRUCTIONAL ACTIVITIES

       1. World Class Manufacturing Academy ("WCMA'?: The WCMA refers to facilities and
programs administered by the Center to train hourly Company employees as to machinery and
equipment as part of Company operations. Such training occurs either at the Center itself, at
Company plants or at the NTC's specially dedicated WCMA facility in Warren, Michigan.

        2. Health and Safety Training and Research: The Center conducts, on an ad hoc basis as
needed, training sessions designed to improve employee health and safety. Such sessions can involve
"train the trainer" events, designed to prepare specific plant employees to convey safety information
to other employees; group training sessions; or, in some cases, entire plants and shifts.

        In the Center's view, none of these instructional Activities involves the type of "training" that
would rise to the level of an "employee benefit." As noted above, these Activities are analogous to
any employer's instructing an employee as to how he or she is expected to perform his or her job.
Because of the size and scale of the Company's operations, such instruction has been formalized and
centralized, in many cases, with the Center. The Activities involve, as indicated, simple guidance as
to how to perform an employee's duties - not "training" that can lead, for example, to a new career
or more advanced job specification. For these Activities to be considered "employee benefits," any
instruction by an employer to an employee as to job performance would have to be so considered;
and plainly that was not Congress's intent.




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        Even if these instructional Activities did involve an "employee benefit" within the meaning
of ERISA, they would not constitute a "plan, fund or program" under the Dillingham analysis
discussed above. They do not involve any standing program or document that an employee could
consult or cite by way of "claiming" any right to instruction. The programs are, as indicated,
conducted on an ad hoc - but usually mandatory - basis as necessary for smooth Company
operations. Accordingly there would be no way to "ascertain the intended benefits," as required
under Dillingham in order to be an employee benefit plan.

                                         ADDITIONAL ACTIVITIES

         I. Tuition Assistance Program ("TAP'~: The Center administers the TAP, pursuant to which
eligible Company employees can receive Company-paid tuition, for qualifying classes offered by
eligible educational instutions.

       Such plans are not subject to ERISA. Department of Labor Regulation §2510.3-1 (k) excludes
from the definition of "employee benefit plan":

         (k) Unfunded scholarship programs. For purposes of title I of the Act and this chapter, the
         terms "employee welfare benefit plan" and "welfare plan" shall not include a scholarship
         program, including a tuition and education expense refund program, under which payments
         are made solely from the general assets of an employer or employee organization.

        This exclusion applies to the TAP administered through the Center. Like all other Activities,
the TAP is not "funded," within the meaning accorded that term under BRISA. Money for this
Activity is not segregated; no participant has any right to any assets of the Center (or of the
Company) with respect to this Activity. Amounts required to provide reimbursement under the TAP
are simply forwarded, within approximately a month of the need,2 to the Center, whose role is at
most as an "administrator" of the Plan. 3 There is no authority for treating such an arrangement, where
the employer forwards its own unsegregated assets to an administrator for the short-term purpose of
administering benefits, as "funded" - and indeed, doing so would be tantamount to regarding any
third-party plan administrator as itself an BRISA "plan."

        As described above, in Wright Elec. v. Minn. State Bd. of Elec., 2002 U.S. Dist. LEXIS 5783,
27 EBC 2533 (D. Minn. 2002), the District Court concluded that a separate foundation financed on a
"pass-through" expense basis could not constitute a "fund" within the meaning of ERISA - and this
conclusion was reached despite the fact that the contributions in question, in contrast to the Center,
involved employee contributions.

2
  We note that, in Regulation 29 C.F.R. § 2510.3-102c), the DOL has provided that participant contributions to a
welfare benefit plan will be considered "plan assets" - which must be segregated in trust or used to pay benefits or
defray plan expenses - no later than 90 days after their receipt by the sponsoring employer. This Regulation is not
directly applicable to the present case (it involves participant contributions, of which the Center receives none), and
the 90-day period is a maximum, "unsafe harbor." The provision nonetheless suggests the DOL's view that holding
assets as Jong as 90 days is consistent with the conclusion that assets are not being "accumulated" in a manner
sufficient to invoke the requirements of ERISA.
3
  Until 2012 TAP checks were not in fact written by the Center. Instead the Center simply issued a request to the
Company to issue checks directly to educational institutions. For administrative convenience this arrangement was
changed in 2012 to the current system by which Chrysler provides the money for distribution by the Center.




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         The analysis also follows from judicial authority and DOL guidance concerning "advance
and recapture" vacation arrangements, which were presented in a series of cases in which employers
attempted to circumvent state vacation-pay laws by "funding" vacation plans on a pay-as-you-go
basis through a separate trust. Courts and the DOL concluded that such arrangements were not
"funded" within the meaning of ERISA, even in situations where employers maintained meaningful
assets in the trust, and trust funds were required by their terms to be used only to pay or reimburse
the employer for vacation benefits. As stated by the DOL in a 2004 Advisory Opinion Letter on the
subject:

         The fact that the Trust documents may be read to impose a legal obligation on [the employer]
         to contribute amounts every two weeks sufficient to pay vacation wages as they become due,
         and the fact that [the employer] may voluntarily maintain a minimum balance of $250,000 in
         the Trust does not, in the Department's view, operate to change the essential nature of the
         Trust as a mere pass-through vehicle for the employer's payment of ordinary vacation wages
         or result in the Trust constituting a separate fund that provides genuine protections for the
         approximately $8 million in benefits that accrue under the plan each year.
         DOL Advisory Opinion 2004-08A (July 2, 2004) (emph. added).

With respect to a similar arrangement, where a relatively low balance was maintained in the trust, the
U.S. Court of Appeals for the Ninth Circuit stated that:

         Under this scenario, the employee is relying on the financial health of [the employer], not
         that of the trust, for his or her regular sick leave payments. "If there is a danger of defeated
         expectations, it is no different from the danger of defeated expectations of wages for services
         performed - a danger Congress chose not to regulate in ERISA."
         Alaska Airlines v. Oregon Bureau of Labor, 122 F.3d 812 (1997) (quoting Massachusetts v.
         Morash, 490 U.S. 107, 115 (1989).
See also Czechowski v. Tandy Corp., 731 F. Supp. 406, 408 (N .D. Cal. 1990) (emphasizing that the
trust at issue was not subject to ERISA "since no funds are accumulated in it."); Shrivastava v. Fry's
Elecs., 2011 U.S. Dist. LEXIS 96714 (N.D. Cal. 2011); Gilbert v. Securitas Sec. Servs., 2007 U.S.
Dist. LEXIS 102412 (C.D. Cal. 2007). 4

        It should be noted that the above authorities ruling out the existence of a "fund" all involved
the establishment of an actual formal trust, against the assets of which an employee would have
directly legally enforceable rights - in marked contrast to the situation with the Center. As
acknowledged by the above courts, as well as the DOL, to conclude that a "fund" within the meaning
of BRISA exists where expenses of a pass-through entity - even a trust - are advanced on a pay-as-
you-go basis would give rise to the opportunity, which the employers in the above cases all sought to

4
  These "advance and recapture" cases all involved situations where benefits were directly paid by the employer,
followed by reimbursement of the employer from the trust. But that is a formal difference from the Center, involving
only the sequence and routing of fund-flow. The economic substance, under which no assets are "accumulated," is
the same; with the crucial differences that the Center does not even constitute a trust and employees have no legally
enforceable rights against it with respect to benefits. Even more so than in the cases above, employees must
effectively look exclusively to the employer for security as to financing of Activities.




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seize, of avoiding the application of protective state laws through the adoption of a merely formal
arrangement. Further, concluding that pass-through reimbursement of the expenses of a third party
through which benefits are offered gives rise to a "fund" would also, as noted above, require
concluding that any benefit program administered through a third-party administrator, or TPA, is
therefore by definition "funded," an intolerable result.

        Finally, whatever the analysis under the above regulation, it is questionable whether
education benefits such as those provided under the TAP are even "employee benefits" within the
meaning of ERISA. At least one Court of Appeals has held that they are not. Kemp v. IBM, I 09 F.3d
708, 713-14 ( l l 1h Cir. 1997). That conclusion is consistent, for instance, with historical tax
authorities pursuant to which education benefits provided to assist an employee in performing his or
her duties have been held not to constitute "wages." (See, for example, Internal Revenue Service
Revenue Ruling 76-71, 1976-1 Cum. Bull. 308.) As discussed with regard to the instructional
Activities above, this result simply makes sense: Education or instruction undertaken to assist an
employee in performing his or her assigned duties is not in its essence a compensatory "employee
benefit." This type of education or instruction involves, effectively, informing an employee how to
do his or her job, not compensating the employee for doing that job.

         2. Circle of Life Network: This Activity involves a collection of alliances with local
providers as to such things as child/elder care, to which the Center can refer Company employees for
assistance with family care and similar issues. The Activity also includes a dependent care assistance
program, or "DCAP." As the Department has indicated, an unfunded DCAP limited to
reimbursement of dependent care services freely chosen by each participating employee, rather than
the employer's provision of any specific day care center, is not the type of benefit described in
ERISA Section 3(1) and thus does not constitute an employee welfare benefit plan within the
meaning of section 3(1) of Title I of ERISA. See D.O.L. Adv. Op. 93-25A (Sept. 3, 1993). This
description applies to the DCAP provided through the Circle of Life Activity. (For further analysis of
"unfunded" status, see also the discussion above concerning the TAP.)

        3. Employee Assistance Program ("EAP'~: The EAP, administered through the Center,
provides referrals intended to assist employees who encounter personal or family-related issues,
including substance-abuse and other problems. The EAP is, like the other Activities, unfunded as
described above, and involves referrals to qualified counselors rather than the direct provision by the
Center of counseling or other treatment. Accordingly the EAP is not an "employee benefit plan," as
indicated by the Department of Labor in advisory guidance concerning employee assistance
programs. See, e.g. D.O.L. Adv. Op. 88-04A (March 11, 1988).

        Even were the EAP an employee benefit plan, the Center does not itself provide referrals or
any other direct employee services under the EAP. Instead the Center's role is limited to a "train the
trainer" function whereby the Center furnishes initial and continuing training to those local UAW
representatives who are tasked with staffing the EAP, and whose salaries are entirely paid, directly,
by the Company. The Center arranges and hosts training at its facilities for the those
reprepresentatives, advancing or reimbursing their transportation and hotel costs from the amounts
received by the the Center from Company on the monthly basis described above. The Center does
not "administer," and certainly cannot be itself regarded as, the EAP.




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CONCLUSION

       In summary, for the reasons discussed above, neither the Center nor the activities conducted
through the Center are "employee benefits plans" within the meaning of ERISA. Accordingly EBSA
does not have jurisdiction to conduct an investigation.

         If you have any questions, please feel free to contact me at the number given above.

                                                 Very truly yours,
                                  STEVENSON KEPPELMAN ASSOCIATES

                                         ~lJ. ~
                                                Andrew W. Stumpff

AWS/kmz
Attachments
cc:     Jerome Hill, UAW Chrysler National Training Center
        L. Joe Rivers, Regional Director, Employee Benefits Security Administration
        Meghann Wilkinson, Employee Benefits Security Administration




00508546.DOC-4
Case 2:18-mc-51223-PDB ECF No. 31 filed 05/02/19       PageID.667    Page 12 of 117




               UAW-CHRYSLER NATIONAL TRAINING CENTER

                                 EXHIBITS 1-11

                Employee Benefits Security Administration Response

                                October 20, 2014
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           (Sub-index provided for documents in each category at indicated tab)


  1. Constitutive Documents

  2. Funding

  3. New Hire Orientation

  4. Artist at Work Competition

  5. Diversity Activities

  6. Workplace Violence Protection Program

  7. World Class Manufacturing Academy (“WCMA”)

  8. Health and Safety Training and Research

  9. Tuition Assistance Program (“TAP”)

  10. Circle of Life Network

  11. Employee Assistance Program (“EAP”)
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                                             2. By-Laws
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                                             2. Sample New Hire Orientation Agenda



                                     4       1. Artist at Work Description



                                     5       1. “Valuing Diversity Makes Sense” Booklet



                                     6       1. Workplace Violence Prevention Reference
                                                Manual



                                     7       1. World Class Manufacturing Academy
                                                Guidebook for Technology Training
                                                Participants


                                     8       1. Letter Agreement concerning Health and
                                                Safety Training Research



                                     9       1. Tuition Assistance Overview
                                             2. Tuition Assistance Reference Manual



                                    10       1. Circle of Life Reference Manual



                                    11       1. Employee Assistance Reference Manual
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            1.    Memorandum of Understanding
            2.    By-Laws                                               1
            3.    IRS Exemption Letter
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    .




                 CAW-CHRYSLER SKILL DEVELOPMENT AND TRAINING PROGRAM
                                           BY-LAWS


                                          ARTICLE I


               The location of the principal office of the Corporation
          shall be as fixed by the Board of Trustees.         Until otherwise so
          fixed, such office shall be at 12000 Chrysler Drive, K.T. Keller
          Building, Highland Park, Michigan       48203.


                                         ARTICLE II

               This corporation is organized for the education, training,
          retraining, and/or placement of workers and all activities
          incidental thereto, to reduce the burden on government of
          retraining the work force in order to effectively compete with
          foreign manufacturers and workers, and to carry on any activities
          allowable by a tax-exempt organization described in Section 501
          of the Internal Revenue Code of 1954.

               In no event is the Corporation to conduct for the purpose of
          granting credits or degrees, a school, academy, seminary, college
          or other institution of learning, but the Corporation may sponsor
          or arrange for training leading to credits or degrees through
          qualified institutions of learning.

               All of the property of this Corporation and accumulations
          thereof shall be held and administered to effectuate its
          purposes, and the following prohibitions apply:
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' '



             No part of the net earnings of the Corporation shall inure
        to the benefit of, or be distributed to, its members, trustees,
        officers, or other private persons, except that the Corporation
        shall be authorized and empowered to pay reasonable compensation
        for services rendered and to make payments and distributions in
        furtherance of the purposes set forth in Article II.

             No substantial part of the activities of the Corporation
        shall be lobbying, the carrying on of propaganda, or otherwise
        attempting to influence legislation, and the Corporation shall
        not participate in or intervene in (including the publishing or
        distribution of statements) any political campaign on behalf of
        any candidate for public office.

             Notwithstanding any other provision of these articles, the
        Corporation shall not carry on any activities not permitted to be
        carried on by a corporation exempt from Federal income tax under
        Section SOl(c) (5) of the Internal Revenue Code of 1954 (or the
        corresponding provision of any future United States Internal
        Revenue Law).


                                       ARTICLE III

              The Board of Trustees of the Corporation shall constitute
        its governing body, shall have all such powers and authority as
        are conferred upon them by law, by the Articles of Incorporation
        and these By-Laws and consistently therewith shall have direction

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 and control over the business, property and affairs of the
 corporation.

      The Board shall consist of six (6) Trustees who shall hold
 office until their resignation or removal.         One-half (1/2) of
 said Trustees shall be salaried employees of Chrysler
 Corporation.    The remaining one-half (1/2) of said Trustees shall
 be representatives of the Chrysler Department of the
 International Union, United Automobile, Aerospace and
 Agricultural Implement Workers of America (UAW).          In order to
 qualify as Trustees, Chrysler Corporation salaried employees must
 be duly appointed by Chrysler Corporation's Vice President of
 Industrial Relations.     In order to qualify as Trustees, UAW
 representatives must be duly appointed by the Vice President and
 Director of the Chrysler Department of the UAW.

      A Trustee may resign at any time by delivering written
 notice to the Corporation.      The resignation is effective upon its
 receipt by the Corporation or at a subsequent time as specified
 in the notice of resignation.      Trustees who are employees of
 Chrysler Corporation may be removed from office with or without
 cause by Chrysler Corporation's Vice President of Industrial
 Relations.     Trustees who are representatives of the UAW may be
 removed from office with or without cause by the Vice President
 and Director of the Chrysler Department of the UAW.            In case of
 any va9ancy in the Board of Trustees by reason of death,
 resigna~ion,    or removal, such vacancy may be filled by
 appointment as provided above.



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            Each of the Trustees shall file a written acceptance of the
      office and duties of a Trustee of this corporation to be included
       in the records of the Corporation before entering into his or her
      duties1 provided, however, the execution of the Articles of
       Incorporation shall be deemed to be an acceptance by such of the
      present Trustees as execute them.


                                      ARTICLE IV

            Meetings of the Board of Trustees shall be held at least
      once a year at such place and at such times as shall be fixed by
       the Board of Trustees.     Special meetings of the Board of Trustees
      may be called at any time by either co-Director.           Prior notice
      shall be given of all special meetings of the Board to each
      Trustee in any manner and shall state the time and place of the
      meeting and generally the business to be transacted.            Any Trustee
      may waive notice of any meeting in writing or by telegraph or
      cable.   Attendance at any meeting shall constitute a waiver of
      notice of the meeting except where a Trustee attends for the
      express purpose of objecting because the meeting was not lawfully
      called or convened.

            Two-thirds (2/3) of the total number of the whole Board of
      Trustees, in no event less than four (4) shall constitute a
      quorum at all meetings of the board.         A majority of the whole
       Board of Trustees is required to decide any question brought


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            An officer may resign by written notice to the Corporation.
      The resignation is effective upon its receipt         b~   the Corporation
      or at a subsequent time as set forth in the notice of resignation.
      Any officer may be removed at any time, with or without cause, by
       resolution of the Board.

            The Co-Directors and Co-Presidents shall be responsible for
       the general management and control of the affairs and business of
       the Corporation within such limitations as the Board of Trustees
       shall establish.     They shall perform such other duties as may be
      directed from time to time by the Board.

            The Secretary shall give all notices of meetings of the Board
       as to which notice is required and shall record all action taken
       at any meeting of Members or of the Board in a book or books to
       be kept for that purpose.      The Secretary shall have custody of
       the records of the Corporation and shall perform such other duties
       as are incident to the office of Secretary, subject to the control
       of the Board, and as are from time to time prescribed by the Board.

            All checks, drafts and orders for payment of money shall be
                                         .
       signed in the name of the Corporation by such officers, agents or
       employees and in such a manner as the Board of Trustees shall
       from time to time direct by resolution.

            When   th~   execution of any contract, conveyance or other
       instrument has been authorized without specification of the


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•

     executing officers, the Co-Directors       o~     their designees may
     execute the same in the name and on behalf of this Corporation.
     The Board of Trustees shall have the power to designate the
     officers and agents who shall have authority to execute any
     instrument or class of instruments in behalf of this Corporation.

           Salaries and other salaried personnel matters involving
     officers, employees and agents shall be determined from time to
     time by the Board or by such person or persons, if any, to whom
     such power shall have been delegated by the Board.


                                     ARTICLE VI

           Each person who is or was a Trustee, officer, employee, or
     agent of the Corporation, and each person who serves or served at
      the request of the Corporation as a director, officer, employee,
     agent, or committee member of any other corporation, business
     corporation, partnership, joint venture, trust, or other
     enterprise shall be indemnified by the Corporation to the fullest
     extent to which the corporation has the power to so indemnify
     such person pursuant to the laws of the State of Michigan as in
     effect from time to time.       The Corporation may purchase and
     maintain insurance on behalf of any such person against any
      liability asserted against and incurred by such person in any
     such capacity or arising out of his status as such, whether or
      not the Corporation would have the power to indemnify against
     such liability under the laws of the State of Michigan.

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                                      AR'l'ICLB VII

             The manner of auditing the books and records of the
       Corporation shall be determined by the Board.


                                      AR'l'ICLB VIII

             The By-Laws of the Corporation may be amended, aitered, or
       repealed, in whole or in part, by a majority of all of the
       Trustees then in office.


                                       AR'l'ICLB IX

             Upon the dissolution of the Corporation, the Board of
       Trustees shall, after paying or making provision for the payment
       of all of the liabilities of the Corporation, dispose of all of
       the assets of the Corporation exclusively for carrying out the
       purposes of the Corporation.       Any such assets not so disposed of
       shall be disposed of in accordance with the laws of Michigan.




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                    RESOLVED, that the foregoing By-Laws of the UAW-Chrysler
                                                  Program are herewith approved and
              adopted as   of\~ ~ T               , 1986, by the Trustees.
                            !~   >




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              Thomas   Ga~her      1



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                                                  -9-
              Case 2:18-mc-51223-PDB ECF No. 31 filed 05/02/19 PageID.684 Page 29 of 117
     inte:·nal Revenue Service                                 Department of the Treasury
     District Director                  .   \   ·~




     Date:   NOV   ~   0 1986                                 Employer Identification Number:
                                                              Applied For 38-
                                                              Case Number:
                                                              310054469
                                                              Person to Contact:
                                                              W.    Tagami
I>           UAW CHRYSLER SKILL DEVELOPMENT &                 Contact Telephone Number:
              TRAINING PROGRAM                                 (513)         684-2501
             P 0 BOX 1919                                     Internal Revenue Code
             DETROIT, MI 48288                                   Section 501(c)( 5)

                                                              Accounting Period Ending:
                                                               September 30
                                                                          Iii Yes 0
                                                              Form 990 Required:                     No

     Dear Applicant:                                          Caveat Applies:    No

         Based on information supplied, and assuming your operations will be as stated in your
     application for recognition of exemption, we have determined you are exempt from Federal
     income tax under the provisions of the Internal Revenue Code section indicated above.

         Unless specifically excepted, you are liable for taxes under the Federal Insurance
     Contributions Act (social security taxes) for each employee to whom you pay $100 or more
     during a calendar year. And, unless excepted, you are also liable for tax under the
     Federal Unemployment Tax Act for each employee to whom you pay $50 or more during a
     calendar quarter if, during the current or preceding calendar year, you had one or more
     employees at any time in each of 20 calendar weeks or you paid wages of $1,500 or more in
     any calendar quarter. If you have any questions about excise, employment or other Federal
     taxes, please address them to this office.

         If your sources of support, or your purposes, character, or method of operation
     change, please let us know so we can consider the effect of the change on your exempt
     status. In the case of an amendment to your organizational document or bylaws, please
     send us a copy of the amende~ document or bylaws. Also, you should inform us of all
     changes in your name or address.

          The box checked at the top of this letter shows whether you must file Form 990,
     Return of Organization Exempt from Income Tax. It Yes is checked, you are required to
     file Form 990 only if your gross receipts each year are normally more than $25,000. If a
     return is required, it must be filed by the 15th day of the fifth month after the end of
     your annual accounting period. The law provides for a penalty of $10 a day, up to a
     maximum of $5,000, when a return is filed late, unless there is reasonable cause for the
     delay. This penalty may also be charged if a return is not complete. So, please male
     sure your return is complete before you file it.
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                                                                           UJ\'N CHRYSLER
                                                                                NO'! ?. J \936
                                                                         t\a\iooa\ 1raining Program
                                                     (over)                        _......                    t
      P.O. Box 2508, Cincinnati, OH 45201
                                                                   \                  Letter Q481DO\ IRev. 4-86)
          Case 2:18-mc-51223-PDB ECF No. 31 filed 05/02/19 PageID.685 Page 30 of 117
      You are not required to file Federal income tax returns unless you are subject to the
·tax on unrelated business income under section 511 of the Code. If you are subject to
 this tax, you must file an income tax return on Form 990-T, Exempt Organization Business
  Income Tax Return. In this letter we are not determining whether any of your present or
 proposed activities are unrelated trade or business as defined in section 513 of the Code.

      You need an employer identification number even it you have no employees. If an
 employer identification number was not entered on your application, a number will be
 assigned to you and you will be advised or it. Please use that number on all returns you
 file and in all correspondence with the Internal Revenue Service.

     It the heading of this letter indicates that a caveat applies, the caveat below is an
 integral part of this letter.

     Because this letter could help resolve any questions about your exempt status and
 private foundation status, you should keep it in your permanent records.

     If you have any questions, please contact the person whose name and telephone number
 are shown in the heading of this letter.

                                                                                                               Sincerely yours,


                                                                                                     ~.--u     District Director




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                                                                                                                                   Letter 948(00) (Rev. 4-86)
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             1. Bank Statements                                         2
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                                                 ACCOUNT:                        03/31/2014




                        UAW-CHRYSLER NATIONAL
                        TRAINING CENTER                                              30-2
                        2211 E JEFFERSON                                                    2
                        DETROIT MI 48207-4104                                             300


================================================================================
     FIRST INDEPENDENCE BANK OFFERS A FULL MENU OF MORTGAGE PRODUCTS AT THE
     BANK. WHETHER YOU ARE LOOKING TO PURCHASE A NEW HOME, REFINANCE YOUR
     EXISTING MORTGAGE, OR TAKE OUT A LINE OF CREDIT FOR OTHER REASONS- WE
     HAVE A SOLUTION TO MEET YOUR NEEDS. PLEASE GIVE US A CALL AT
     313-230-0068, ABOUT ANY MORTGAGE NEEDS YOU MAY HAVE.

================================================================================
                      FI COMMERCIAL CKG ACCOUNT
=================================================--==============================
                                               LA.BT STATEMENT 02/28/14      4,682,560.24
MINIMUM BALANCE                2,187,215.06             2 CREDITS               92,882.58
AVG AVAILABLE BALANCE          3,123,120.30           309 DEBITS             2,588,227.76
.A.VER.A.GE BALANCE            3,124,484.29    THIS STATEMENT 03/31/14       2,187,215.06

                   - - - - - - - - - - DEPOSITS - - - - - - - - - -
REF # ..... DATE ...... AMOUNT REF # ..... D.A.TE ...... AMOUNT REF# ..... DATE ...... AMOUNT
          03/21     80,000.00            03/25       12,882.58
                    - - - - - - - - - - CHECKS - - - - - - - - - -
 CHECK # .. DA.TE ...... AMOUNT CHECK # .. D.A.TE ...... AMOUNT CHECK # .. DATE ...... AMOUNT
  154550*03/24           425.00   154834*03/03           500.00  154877 03/04          234.31
  154588*03/05        5,000.00    154845*03/05           664.00  154878 03/04           40.05
  154594*03/12           250.00   154849*03/03            83.00  154879 03/04           93.02
  154640*03/31           457.51   154855 03/04        2,940.00   154880*03/03       2,422.55
  154694*03/03 593,083.56         154856*03/07        2,565.00   154882*03/03           97.03
  154780*03/07        4,000.00    154858*03/04           869.00  154889 03/05       1,370.40
  154783*03/17           329.54   154861 03/03           521.66  154890*03/07          695.16
  154790 03/10           148.43   154862*03/04           521.66  154893 03/06          139.35
  154791 03/03        4,080.00    154865 03/03            90.14  154894 03/03       2,335.78
  154792*03/04            95.61   154866 03/06            91.10  154895*03/19          128.50
  154809*03/06           150.00   154867*03/06        1,410.00   154897*03/03       7,710.81
  154826*03/04           692.00   154869*03/04        1,405.00   154901 03/03          330.76
  154828 03/12           750.00   154871*03/03           107.67  154902*03/10          307.25
  154829 03/04       62,410.00    154873*03/03           225.64  154904*03/06       7,900.00
  154830*03/04       73,721.00    154875*03/03           800.00  154908*03/06          149.28
                             * * * C 0 N T I N U E D * * *
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                                                 ACCOUNT:                        03/31/2014




                       UAW-CHRYSLER NATIONAL
                       TRAINING CENTER



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                      FI COMMERCIAL CKG ACCOUNT
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                   - - - - - - - - - -       CHECKS - - - - - - - - - -
 CHECK # .. DATE ...... AMOUNT CHECK # .. DATE ...... AMOUNT CHECK # .. DATE ...... AMOUNT
  154920 03/03      53, 638 .15     154978 03/17      2,916.00   155019 03/ 12   13,442.08
  154921*03/26          37 6. 92    154979 03/12      3,672.00   155020 03/17        956. 45
  154923*03/31          238.27      154 980 03/ 17    3,975.20   155021 03/13     1,417.29
  154925*03/10          217.00      154 981 03/ 12       724.00  155D22 03/17        565.75
  154927 03/05          307.00      154982 03/11      1,359.75   155023 03/17        126. 83
  154928 03/03          237. 94     154 983 03/ 13    1,104.75   155024 03/11    15, 936. 00
  1545l29*03/l0      1, 2 93. 74    154 984 03/ 13    2,202.35   155025 03/12         56. OD
  154932*03/03          185.33      154 985 03/ 13    4,232.25   15502 6 03/ 14       39.84
  154934*03/D3           201.99     154986 D3/12.~'  ,3, 111. 00 155027 ·03/ 12       61.61
  154937*D3/D3       3,036.75       154 987 03/ 12    1,610.00   155028 03/1'2       265.00
  154940*03/05           2DO.DO     154 988 03/ 13    2,830.00   15502 5> 03/ 12     335.09
  154943 03/04           847.89     154989 03/12      3,420.00   155D30 03/14     6,3DO.OD
  154944 03/03           916.57     154990*03/14         912.00  155031 03/17        1D9. 4D
  154945*D3/13      29,8DO.OO       154 992 03/ 14  12,419.00    155D32 *D3/'l9      112.75
  154948 03/D3           639. 52    154993*03/17      1,856.00   155D34 03/11    35,445.62
  154949 03/05       1, 191. D3     154995 03/17      3,452.70   155035*03/17        391. 96
  154950*03/12           121. 01    154 996 03/ 12    5,001.00   155037 03/13    13,385.70
  154954 03/03            88.75     154997 03/20         175.00  155038*03/12         74.87
  154955*03/03           120.00     154 998 03/ 12       410.58  155D40 03/13        615. 64
  154959 03/06       4,281.00       154999 03/24         156. 00 155041 03/26     4,700.00
  154960 03/04       1,800.00       155000 03/13          96.00  15SD42 03/14         SS.OD
  154961 03/04       7,967.14       155001 03/31     99,258.99   155043 03/11         60. 97
  154962 03/10       1,984.DO       155002 03/12          45.55  155D44 03/11        167. 80
  154963 03/D5           795. 00    155003 03/13          37.45  155045 03/11     1, 928. 09
  154964 03/07       2,038.20       155004 03/17         139.80  15504 6 03/ 12      252.50
  154965 03/05           503.00     155005 03/17         192.52  155047 03/12    20, 681. 28
  154966 03/05           211. DO    155D06 03/2D      2,995.00   155048 03/12     1,250.00
  154967*D3/11        3, 675. 00    155007 03/11         228.83  155D4 9 03/ 12  20,952.SD
  154969 03/11           6DD.OO     155008*03/13          83.84  155050 03/19        530.10
  154970 03/05       1,134.00       155011 03/24         427.45  155051 03/12     5,8DO.DO
  154971 D3/10        2, 2 68. DO   155012 03/11         840.00  155052 03/10          64.40
  154972 D3/06        2,751.05      155D13 03/13         521.80  155053 03/11        4 94. 65
  154 973 03/ 10      1,443.80      155014 03/14         336.00  l55D54 03/31        192.33
  154974 03/10           476.00     155015 03/12      1,060.00   155D55 03/19        392. 31
  154 97 5 03/07 250,000.00         155016 03/12      1,199.72   155D5 6 03/ 11      3 63. 40
  154 97 6 03/ 12     1,410.00      155Dl7 03/12         220.00  155057 03/12        248.50
  154977 03/18           818.00     155018 03/lD         425.25  155058 03/17        288.45
                               * * * C 0 N T I N U E D * * *
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                                                  ACCOUNT:                        03/31/2014




                        UAW-CHRYSLER NATIONAL
                        TRAINING CENTER



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                         FI COMMERCIAL CKG ACCOUNT
================================================                  ========================
                   - - - - - - - - - - CHECKS - - - - - - - - - -
 CHECK # .. DATE ...... AMOUNT CHECK # .. DATE ...... AMOUNT CHECK # .. DATE ...... AMOUNT
  155059 03/11          294.99    155097 03/12          64.75 155141 03/28           840.00
  155060 03/10          245.00    155098 03/10        238.00  155142 03/31           406.99
  155061 03/17          213.00    155099 03/10        386.28  155143 03/25           127.15
  155062 03/17          143.94    155100 03/12    13,900.00   155144 03/27        8,808.00
  155063 03/11          810.88    155101 03/11        448.48  155145 03/27        3,020.50
  155064 03/10       l.,366.73    155102*03/13    45,400.00   15514 6*03/28       5, 626. 5 9
  155065 03/12       4,168.SO     155105 03/20    14,897.65   155150 03/27.       2,557.62
  155066 03/17          291.32    155106 03/21        750.00  155151*03/28      14,211.01
  155061 03/14 1    12,200.00     155107'D3/31        998.00, 155153 03/2 6'      4, 000 . o·o
  155068 03/13          799.95    155108 03/27      5,851.72  155154 03/28           71..,.,0 9
  155069 03/11      42,467.13     155109 03/31      4,024.00  155155 03/28           2 65. 00
  155070 03/24          387.48    155110 03/27      7,762.00  155156 03/27      11,236.97
  155071 03/10          235.20    155111 03/26      1,682.05  155157 03/28           846. 56
  155072 03/11       2,435.70     155112*03/27    15,960.09   155158 03/28           769.19
  155073 03/12       2,815.22     155114 03/18      1,400.00  155159 03/26           611.67
  155074 03/11      24,795.23     155115 03/26      1,500.00  155160 03/27        1,174.97
  155075 03/13          193.00    155116 03/26        900.00  155161*03/31           129. 85
  155076 03/14          229.00    155117 03/31      1,350.00  155163*03/28        8,862.52
  155077 03/12          104.00    155118 03/31      3,600.00  155167 03/27        2,521.48
  155078 03/14          520.99    155119 03/25      1,800.00  155168 03/28      30,332.05
  155079 03/13          202.00    155120 03/26      3,600.00  155169 03/2 6       9,548.25
  155080 03/11          839.49    155121 03/27      2,310.20  155170*03/28           326.00
  155081 03/12          221.60    155122 03/26        176.15  155172 03/27           204.11
  155082 03/14          834.10    155123 03/26        509.75  155173*03/31           124.01
  155083 03/14       1,158.44     155124 03/28      1,678.53  155175 03/27           166.75
  155084*03/14          682.06    155125 03/26      7,429.96  15517 6 03/27          159. 62
  155086 03/17      33,125.76     155126*03/25      5,752.00  155177 03/31           197. 3 6
  155087 03/13          255.00    155128 03/28      1,097.00  155178 03/31           536.33
  155088 03/10          190.00    155129 03/25      1,919.00  15517 9 03/31          642.50
  155089 03/13          175.52    155130 03/27      3,452.35  155180 03/26        3,718.85
  155090 03/12          172.60    155131 03/25      1,546.91  155181 03/31      12,300.75
  155091 03/12          139.44    155132 03/25     50,000.00  155182 03/26       68, 356.16
  155092 03/12        2,096.83    155133 03/31          58.12 155183 03/31           2 60. 80
  155093 03/12          495.51    155134*03/28          45.55 155184   03/31           27.74
  155094 03/13          185.00    155136*03/31      1,316.45  155185*03/26        1,495.00
  155095 03/20       1,302.77     155139 03/28      1,352.88  155187 03/31           409.93
  155096 03/11       1,560.00     155140 03/31         107.67 155188 03/31           478.40
                             * * * C 0 NT I N U E D * * *
       Case 2:18-mc-51223-PDB ECF No. 31 filed 05/02/19       PageID.690   Page 35 of 117


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                                                  ACCOUNT:                         03/31/2014




                        UAW-CHRYSLER NATIONAL
                        TRAINING CENTER


--------------------------------------------------------------------------------
                      FI COMMERCIAL CKG ACCOUNT
================================================         =======================
                                 - - - - CHECKS - - - - -
 CHECK # .. DATE ...... AMOUNT   CHECK # .. DATE ...... AMOUNT   CHECK # .. DATE ...... AMOUNT
  155189 03/31          331.61    155205*03/27          104.00    155220 03/28       3,047.57
  155190*03/28          263.05    155207 03/26          609.13    155221 03/31          424.78
  155193 03/28          945.00    155208 03/31          161.50    155222 03/31       2,203.37
  155194 03/26          277.25    155209 03/26      24,163.00     155223 03/31          108.36
  155195 03/28          388.91    155210 03/26       1,592.00     155224 03/31          211.42
  155196*03/31      11,400.00     155211 03/28          659.76    155225 03/28          477.00
  155199*03/27          774.70    155212 03/28       1,136.62     155226 03/28          168.60
  155201 03/28       1,858.67     155213 03/31          246.89    155227 -03/31         195.71
  155202 03/31       2,916:66     155214*03/28      45,70~.oo     15522g.03/26          31a.oo
  155203 03/27          188.00    155216 03/28          540.82    155229*03/27 111,294.00
  155204 03/27          317.85    155217*03/27       1,750.00     155244 03/31       1,305.38
(*) INDICATES A GAP IN CHECK NUMBER SEQUENCE
                    - - - - - - - OTHER DEBITS - - - - - - - - -
DESCRIPTION                                                  DATE                       AMOUNT
TELCO BILLING Telco Recurring201095                         03/03                        27. 95
Diners Club DINERS PMT 30         4705                      03/03                   65,278.91
TRANSFER TO FI COMMERCIAL CKG ACCOUNT                       03/05                   25,590.4Z
Diners Club DINERS PMT 306        4705                      03/05                   31,396.92
ATT Payment XXXXX1011EPAYW                                  03/06                    2,406.09
TRANSFER TO FI COMMERCIAL CKG ACCOUNT                       03/12                  113,808.84
TRANSFER TO FI COMMERCIAL CKG ACCOUNT                       03/19                    8,519.35
TRANSFER TO FI COMMERCIAL CKG ACCOUNT                       03/26                  112, 901. 27
TELCO BILLING Telco Recurring201095                         03/31                        27.95
            - - - ITEMIZATION OF OVERDRAFT AND RETURNED ITEM FEES -
         ***********************************************************************
         *                                     TOTAL FOR            TOTAL      •
         •                                    THIS PERIOD       YEAR TO DATE   *
         *---------------------------------------------------------------------·
         * TOTAL OVERDRAFT FEES:                   $.00                $.00    *
         *---------------------------------------------------------------------·
         * TOTAL RETURNED ITEM FEES:               $.00                $.00                  *
         ***********************************************************************

                            * * *   C 0 N T I N U E D        * * *
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                                                                                 PAGE:    5
                                                 ACCOUNT:                        03/31/2014




                      UAW-CHRYSLER NATIONAL
                      TRAINING CENTER



================================================================================
                           FI COMMERCIAL CKG ACCOUNT
================================================                 =======================
                                       DAILY BALANCE
DATE ........... BALANCE         DATE ........... BALANCE       DATE ........... BALANCE
03/03      3,945,799.78          03/12      3,074,771.43        03/21      2,935,201.41
03/04      3,792,163.10          03/13      2,971,233.89        03/24      2,933,805.48
03/05      3,723,800.33          03/14      2,935,547.46        03/25      2,885,543.00
03/06      3,704,522.46          03/17      2,886,472.84        03/26      2,636,285.59
03/07      3,445,224.10          03/18      2,884,254.84        03/27      2,455,920.66
03/10      3,433,935.02          03/19      2,874,571.83        03/28      2,333,764.69
03/11      3,299,183.01          03/20      2,855,201.41        03/31      2,187,215.06

                                   - END OF STATEMENT -
                                       "'
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                                                                                     PAGB:    l
                                                     ACCOUNT:                        04/30/2014




                            UAW-CHRYSLBR NATIONAL
                            TRAINING CBNTIR                                              30-Z
                            ZZll B JBFFBRSON                                                 l
                            DBTROIT MI 48Z07-4104                                          zsz


     ••••••••••••••••••••••••••a••••••••••••••••a••••••••••••••••••••••••••••••••••••
          FIRST INDBPINDBNCB BANK OFFBRS A FULL MBNU OF MORTGAGB PRODUCTS AT THI
          BANK. WHBTHBR YOU ARB LOOKING TO PURCHASB A NBW HOMB, RBFINAJlCB YOUR
          BXISTING MORTGAGB, OR TARI OUT A LIMB OF CRBDIT FOR OTHIR REASONS- WI
          HAVB A SOLUTION TO MBBT YOUR NBBDS. PLBASB GIVB US A CALL AT
          313-230-0068, ABOUT ANY BORTGAGB NBBDS YOU MAY HAVB .

     .............•........•.•.•..•.•••••••••.•••..•••..•.•.•.•••••.•.••.....•.•.•••.
                              FI COMMBRCIAL CKG ACCOUNT
     aa••••••••••••••••••••••••••••••••••••••••••••••••••••••••••••••••••••••••••••••
                                                    LAST STATIHBNT 03/31/14       Z,187,215.06
     MINIMUM BALAJlC I              l,348,SZ5.68            2 CUDITS              Z,473,405.37
     AVG AVAILABLE BALANCB          Z,SlS,584.86          Z59 DBBITS              Z,191,684.81
     AVBRAGB BALANCB                Z,517,145.21    THIS STATBHBNT 04/30/14       Z,468,935.62

                        - - - - - - - - - - DEPOSITS - - - - - - - - - -
     RBF f ..... DATB ...... AMOUNT RBF # ..... DATB ...... AHOUNT RBF f ..... DATB ...... AHOUNT
               04/29     23,405.37

                                      OTHBR CREDITS - - - - - -
     DBSCRIPTION                                                           DATB           AMOUNT
     Incominq Wire 11873389 CHRYSLER GROUP LLC                            04/16    2,4SO,OOO.OO

                        - - - - - - - - - - CHICKS - - - - -
      CHICK f .. DATB ...... AMOUNT CHBCK # .. DAT! ...... AMOUNT CHBCK # .. DAT! ...... AMOUHT
       154968*04/04      10,000.00        155148 04/01      40.05      155198*04/03      135.00
       154991*04/04       5,000.00        155149*04/0l      93.02      155200*04/10   1,000.00
       154994*04/02          150.00       155152*04/0Z     123.00      155206*04/01      247.45
       155009*04/0l      42,480.00        155162*04/0l   Z,335.78      l55ZlS*04/04      349.00
       155036*04/ll          108.00       155164 04/14     542.92      155218 04/0l      275. 53
       155039*04/07          Z6l.70       155165*04/0Z     Z79.9Z      155219*04/07      281.00
       155113*04/02           75.00       155171*04/08  15,700.00      155230 04/04  25,537.60
       155127*04/04       4,155.00        155174*04/07     164.05      l55Z3l 04/04   l,000.00
       155135*04/07      55,532.00        155191 04/0l     Z37.94      155Z3Z 04/0Z   7,Z00.00
       155138*04/17           7?.47       155192*04/30     297.7?      155233 04/10      7ZO.OO
       155147 04/01          235.88       15519? 04/17     zoo.co 155234*04/08 162,864.00
                                 ......... C 0 N T I N U B D .........
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                                                                                       PAGE:    2
                                                      ACCOUNT:                         04/30/2014




                            UAW-CHRYSLER NATIONAL
                            TllAIUIHG CBNTBll.




    R••===•===•=••:=••=a••••••=••=•caaaam•=======••==•===a•================a=•••••••
                             FI COHHBRCIAL CKG ACCOUNT
    •••=•••••m•m•D•a•m•mmmmmam••••····················-·····························
                      --   --- -    - - -   -  CHICKS - - - - - - - - - -
     CHICK # .. I>ATI ...... AHOUHT CHICK # .. I>ATB ...... AHOU'NT CHICK # •• I>ATB ...... AHOU'NT
      155236 04/04       25,486.25    155275 04/18          239.00     155313 04/15         479.60
      lSSZ37 04/lS       44,491.36    lSSZ76 04/18          230.00     155314 04/18         190.00
      155238 04/28 527,5?1.33         155277 04/17          139.00     155315 04/22         536.?3
      155239 04/02       27,619.0S    1552?8 04/14            45.55    155316 04/ll          785. 59
      155240 04/04        7,?Zl.88    1552?9 04/14            33.25    15531? 04/ll       Z,510.91
      lSS24l 04/16       32,294.91    155280 04/ll            95.18    155318 04/ 10      l,284.66
      155242 04/04           458.?3   155281 04/15            41.35    155319 04/ll         125.00
      155243*04/17        l,438.88    1SS282 04/28          525.00     155320 04/10       9,974.63
      l55Z45 04/ 14          850.00   155283 04/17          114.17     155321 04/14       l,104.15
      155246 04/07           939.?3   155284 04/18          1?8.68     155322 04/10     38,561.30
      l55Z4? 04/ 10          800.00   155285 04/14          840.00     155323 04/Zl          Z86. l3
      155248 04/09        1,560.00    1SSZ86 04/14        l,813.88     155324 04/lS          4?2. ZS
      155249 04/09        l,803.00    155287 04/ll            68.40    155325*04/10       l,352.00
      155250 04/09        4,725.00    155288 04/17          lU.00      155327 04/24            40.32
      155251 04/14        1,173.56    155289 04/14      13,442.08      155328 04/09          414. 00
      lSS25Z 04/14        8,Zl?.00    105290 04/14           963.35    155329 04/08          2ze. oo
      1SS2S3 04/10        8,292.00    155291 04/14           242.?0    155330 04/Zl          305.04
      155254 04/ 11       3,562.00    155292 04/14        1,977.61     155331*04/15          231.18
      155255 04/08        l,445.00    155293 04/14           127.13    155333 04/Z4          316.05
      155256 04/10        6,603.00    155294 04/10        3,961.?0     155334 04/10             6.78
      155257 04/08        l,300.00    155295 04/ ll           21.SO    155335 04/24          13?.31
       155258 04/08        6,380.00    155296 04/15          886. Z6   155336*04/14          191.41
       155259 04/14        l,890.00    155297 04/15       3,405.85     155338 04/ll          474.97
       155260 04/ll        l,554.00    155298 04/09          634.04    155339 04/0?             6.?8
       155261 04/08        3,555.00    155299 04/14          618.60    155340 04/21          532.27
       155262 04/24        8,2??.60    155300 04/ll          127.91    155341 04/17          475.00
       155263 04/Zl        4,245.00    155301 04/14          150.00    155342 04/09          268.80
       155264 04/10        l,826.95    155302 04/14          4?1. 45   155343*04/14          214.25
       155265 04/09           566.00   155303 04/Zl          383.22    155345 04/16          615.00
       155266 04/09           361.00   155304 04/11       S,891.3?     155346 04/14          285.00
       155267 04/10        l,46?.00    155305 04/lS          256.97     15534? 04/14     19,166. SS
       155268"04/14        3,571.50    155306 04/16      39,706.86     155348 04/14          169.00
       155270 04/10        Z,435.00    155307 04/ll       3,602.90      155349 04/16         198.SO
       155271 04/09        Z,Z99.??    155308 04/14          418.70     155350 04/14          226.75
       155272 04/10        3,093.05    155309"04/14          192.53     155351 04/10       8,101.36
       155273 04/17           333.00   155311 04/18          166.16     155352 04/10          442.10
       155274 04/14           222.35   155312 04/ 11         188.80     155353 04/11          476.00
                                 ........C 0 N T I N U I I> ... ......
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                                                                                          PAGI:    3
                                                     ACCOUNT:                             04/30/2014




                           UAW-CHP.YSLBP. NATIONAL
                           TRAINING CBNTBP.



    ===================================s=====•===cmaa•=•=m=====================•====
                          FI COHHBP.CIAL CKG ACCOUNT
    ••••••••••••••••••••a••••••••••aamc••••••=••••D•••••••••••••••••••••••••••=•••••

                       - - - - - - - - - - CHICKS - - - - - - - - - -
     CHICK t .. DATB ...... AMOUNT CHICK # .. DATl ...... AHOUNT CHICK t .. DATl ...... AHOUNT
      155354 04/14        523.19     155398*04/22         708.08          155444 04/23         190.00
      155355 04/17     23,200.00     155400 04/23          86.74          155445*04/23         494.40
      155356 04/14     24,537.60     155401 04/22      2,435.83           15544? 04/22         234.50
      155357 04/16        124.31     155402*04/22         240.00          155448*04/22      l,208.10
      155358 04/10        819.79     155404 04/23         135.19          155450 04/23         628.62
      155359*04/ 14       136.SS     155405"04/22      4,673.60           155451 04/23         239.00
      155361 04/09        176.00     15540? 04/22     12',068.10          155452*04/22         109.81
      155362 04/08        130.00     155408 04/24          42.6?          155455 04/24         612.0?
      155363"04/28        soo.oo     155409*04/23      8,233.?2           155456 04/22         l?0.55
      155365 04/16      1,500.00     155411 04/21      1,845.01           155457 04/28         230.00
      155366 04/15     13,800.00     155412 04/23      2,824.92           155458 04/25         138.69
      155367 04/15      3,514.96     155413 04/28         139.99          155459 04/22      2,683.06
      155368 04/ 14     4,800.00     155414 04/23         ?14.40          155460 04/23         432.89
      155369*04/Z3    229,447.?Z     155415*04/24           83.00         155461 04/23         383.60
      155371 04/22      l,350.00     155418*04/22      1,065.65           155462 04/22      1,329.?5
      lSS372 04/28      1,455.00     155420 04/22      3,515.29           155463*04/23         147.57
      155373"04/ZS         392.00    155421 04/22     26,249.06           1SS46S 04/24         357.00
      155375 04/25      1,246.20     155422 04/24     24,001.96           155466 04/28           97.00
      155376*04/25      5,621.70     155423 04/23      2,679.04           155467 04/30         190.00
      1553?8 04/28     11,178.00     155424 04/28         889.ZO          155468 04/24         547.16
      155379 04/25     40,000.00     155425 04/23         20.00           155469 04/28         293.95
      155380*04/22     40,000.00     155426 04/23      2,68?.28           1554?0*04/24         224.48
      155383 04/28         244.00    155427*04/28         450.00          1554?4 04/28     61,990.70
      155384 04/28         272. 44   155430 04/21         372. 92         155475*04/30       5,266.15
      155385 04/30         291.00    155431"04/24      1,676.59           1SS4?7 04/30      1,054.95
      155386 04/ZS         1?l.00    155433 04/23         23?.94          1554?8*04/28     23,730.90
       155387*04/24        193.00     155434 04/30        583.66          155481"04/30       1,800.00
       155389 04/23        347.00     155435 04/22     1,357.75           155483 04/29         975.00
       155390 04/24         45.55     155436 04/23        193.86           155484*04/29      3,996.00
       155391 04/28        976.75     155437 04/ZS     S,000.00            155486*04/30      1,470.00
       155392 04/23        155.?Z     155438 04/23        200.00           155498*04/29      2,80?.50
       155393 04/25        112.?0     155439 04/21         370. 59         155490"04/30      2,460.00
       155394 04/28         SO.SO     155440 04/23         520.50         155494~04/30          864.00
       155395 04/25        10?.6?     155441 04/23         629.00         155499 04/29       5,500.00
       155396 04/22        ?56.00     155442 04/25     1,383.24           155500 04/28          303.20
       15539? 04/25        519.00     155443 04/22     1,?65.00           155501 04/30       s,2so.oo

     (*) INDICATES A GAP IN CHICK NUMBER SBQUINCI
                               * * *   C 0 N T I NU BD          +   * *
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                                                                                PAGB:    4
                                                    ACCOUNT:                    04/30/2014




                            UAW-CHRYSLBR NATIONAL
                            TRAINING CBNTBll



    •===•=•=======•=a==m=m====•==••••==•••==a============•====••=~=masam=•=•=•=••••=

                             FI COHMBRCIAL CRG ACCOUNT
    •a••••••=a•••=•=•=•==•=•••a•a•m••••••••••••••••••aca•mmaaama••aasmmaama•maaammms
                      - - - - - - - - - OTHBll DBBITS - - - - - -
    DISCllIPTION                                                      OATB       AMOUNT
    TRAN'SFlll TO FI COHMlllCIAL CKG ACCOUNT                         04/0Z    ZS,098.0?
    ATT Paym.ene XXXXX60llBPAYA                                      04/0?     2,261.82
    TRAN'SFBll TO PI COHMBRCIAL CKG ACCOUNT                          04/09   112,920.14
    TRANSFER TO FI COHMBllCIAL CKG ACCOUNT                           04/15     8,506.16
    TP.AHS1Bll TO PI COHMBllCIAL CKG ACCOUNT                         04/23   107,889.66
    TRAN'SFBll TO FI COHHIRCIAL CKG ACCOUNT                          04/28    25,923.88
    TILCO BILLING Telco llecurring201095                             04/29        27.95

                 - - - ITIHIZATION OF OVBRDRAPT ANO RITUllNBD ITBH PBIS -

              9TT**TT•TTTT*TT*W*TTTTW****************;•*TTWT*************************
              *                                     TOTAL POil           TOTAL      *
              *                                    THIS PBP.IOD      YEAR TO DATE   *
              ·---------------------------------------------------------------------·
              * TOTAL OVBRORAFT FIBS:                   $.00                f.00    *
              ·---------------------------------------------------------------------·
              * TOTAL llBTUllNID ITEK FIBS:             $.00                $.00         *
              ******************************•***********;*•••••••••••*****~**********




                                         DAILY BALANCE
     DATI ........... BALAN'Cll    OATI ........... BALAN'Cll    DATB ........... BALA!ICI
     04/01      2,141,269.41       04/ll      1,513,770.23       04/23      3,226,431.93
     04;02      2,080,724.37       04/14      1,424,611.62       04/24      3,189,877.17
     04/03      2,080,599.37       04/15      l,348,525.68       04/25      3,135,356.97
     04/04      2,000,080.91       04/16      3,724,086.10       04/28      2,478,364.23
     04/07      1,941,433.83       04/1?      3,697,979.59       04/29      2,489,463.15
     04/08      l,?49,831.83       04/lB      3,696,975.74       04/30      Z,469,935.62
     04/09      1,624,104.08       04/21      3,698,635.56
     04/10      1,533,362.?6       04/22      3,586,179.?0

                                      - IND OF STATIHBNT -
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                                                                                           PAGE:    1
                                                         ,ll,CCOIJNT:                      05/30/2014




                          UAW-CHRYSLER NATIONAL
                          TRAINING CENTER                                                         30-2
                          2211 E JEFFERSON                                                             0
                          DETROIT MI 48207-4104                                                     237



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     FIRST INDEPENDENCE BANK OFFERS A FULL MENU OF MORTGAGE PRODUCTS AT THE
     BANK. WHETHER YOU ARE LOOKING TO PURCHASE A NEW HOME, REFINANCE YOUR
     EXISTING MORTGAGE, OR TAKE OUT A LINE OF CREDIT FOR OTHER REASONS- WE
     HAVE A SOLUTION TO MEET YOUR NEEDS. PLEASE GIVE US A CALL AT
     313-230-0068, ABOUT ANY MORTGAGE NEEDS YOU MAY HAVE.

==============================================================;=================
                      FI COMMERCIAL CKG ACCOUNT
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                                                        LAST STATEMENT 04/30/14        2 I 4 68 I 93 5 • 62
MINIMUM BALANCE                     265,870.45                  Z CREDITS              2,426,000.00
AVG AVAILABLE BALANCE            1,449,465.98                 245 DEBITS               2,207,174.49
AVERAGE BALANCE                  1, 4 4 9 I 4 65 , 98   THIS STATEMENT 05/30/14        2, 687, 761.13

                                 OTHER CREDITS - - - - - -
DESCRIPTION                                                                     DATE          AMOUNT
RETURNED CHECK# 153797, STALE DATED CHECK                                      05/20        1,000.00
Incoming Wire 12258812 CHRYSLER GROUP LLC                                      05/30    2,425,000.00
                  -     - - - - - - - - -    CHECKS - - - - -
 CHECK# .. DATE ...   , .. AMOUNT CHECK # .. DATE ... ,, .AMOUNT          CHECK# .. DATE ...   , .. AMOUNT
  153797*05/20          1,000.00     155417*05/14         188.50           155487*05/01          2,068.40
  155033*05/02              70.45    155428*05/02         239.77           155489*05/02          5,836.00
  155166*05/01          3,000.00     155432*05/07         287.01           155491 05/27          1,580.50
  155235*05/01          1,500.00     155446*05/05          397.30          155492 05/05             686.00
  155310*05/09        12,400.00      155453 05/01     18,900.00            155493*05/05          6,885.40
  155337*05/02             325.00    155454*05/01          349.00          155495 05/05        10,580.00
  155344*05/01              50.00    155464*05/08          798.59          155496 05/06          3,654.26
  155377*05/05          1,185.00     155472 05/29      5,000.00            155497 05/13          4,671.00
  155·382*05/07            123.00    155473*05/02          600.00          155498*05/21             530.00
  155388*05/02             212.00    155476*05/0l     10,000.00            155502*05/07          5,000.00
  155399*05/01             153.95    155479 05/22      1,200.00            155504 05/02             600.00
  155403*05/07             360.00    155480*05/01       3,423.06           155505 05/08          1,808.64
  155410*05/02              89.45    155482*05/02       1,110.00           155506 05/13        32,313.00
  155416 05/09           9,400.00    155485*05/01       1,333.86           155507 05/27          1,733.30
                                * * * C 0 N T I N U E D * *               *
   Case 2:18-mc-51223-PDB ECF No. 31 filed 05/02/19          PageID.697   Page 42 of 117


                                                                                   PAGE:    2
                                                  ACCOUNT:                         05/30/2014




                       UAW-CHRYSLER NATIONAL
                       TRAINING CENTER



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                        FI COMMEP,CIAL   CKC~   ACCOUNT
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                   - - - - - - - - - -       CHECKS - - - - - - - - - -
 CHECK# .. DATE .. , ... AMOUNT CHECK# .. DATE ...... AMOUNT CHECK# .. DATE.,      .... AMOUNT
  155508 05/07        2,136.00      155546 05/12        129.85  155586 05/05            356.72
  155509*05/06        5,516.25      155547 05/12          90.40 155587 05/08            137.48
  155511 05/09           97 6. 00   155548*05/09      2,337.21  155588 05/07            139.77
  155512 05/12           232.00      155550 05/07       701.28  15558 9 05/ 151         103.00
  155513 05/09           320.00      155551 05/12       261.97  1555 90.,, 05/08     5,000.00
  155514 05/06       16,988.00       155552 05/09     1,282.53  1555 92 OS/ 12          675.00
  155515 05/09           177.43      155553 05/09   26,439.07   1555 93 * 05/20      5,000.00
  155516 05/09             45.55     155554 05/09   13,857.54   155595 05/16        53,000.00
  155517 05/12           176.31      155555 05/07     5,392.35  1555 96 05/ 15       7,354.66
  155518 05/12           139. 80     155556 05/09   12,600.00   155597 05/16         8,500.00
  155519 05/23       10, 077. 95     155557 05/08       353.27  155598*05/16       367,044.65
  155520 05/07           191. 85     155558 05/08     1,912.33  155600 05/19        54,077.27
  155521 05/12             99.37     155559 05/08       187.40  155601 05/21       400,000.00
  155522 05/07           168. 56     155560 05/19       181.08  155602 05/14       200,004.00
  155523 05/07        2,929.70       155561 05/06         48.81 155603 05/19         5,000.00
  155524 05/12        1,684.47       155562 05/06     1,591.80  155 604 *05/27          900.00
  155525 05/08           840.00      155563 05/06     3,512.48  155 608 05/23        1,950.00
  155526 05/09        2, 928.56      155564 05/07    42,099.30  155609 05/29         2' 298. 00
  155527 05/07           931. 95     155565*05/06     1,495.00  155 610 05/28        4,920.00
  155528 05/08           643.80      155567 05/09       133.76   155611 05/23           so 9. 7 s
  155529 05/08           526.70      155568 05/09       503.81  155 612 *05/27       2,256.00
  155530 05/14        9,236.16       155569 05/13       401.63   155614*05/23        1,053.00
  155531 05/09       13,442.08       155570 05/06     1,544.93   155 616 05/27       1,300.00
  155532 05/09        5,930.13       155571 05/13       192.43   155617 05/28       15,275.00
  155533 05/08              93.17    155572 05/27        110.00  155618 05/27       13,635.00
  155534 05/08              40.12    155573 05/09        295.68  155619 05/23        8,722.00
  155535 05/20         5,995.00      155574 05/06    19,902.00   155620 05/27         1,655.00
  155536 05/07         2,024.12      155575 05/08        149.00  155 621 05/23        3,250.00
  155537 OS/ 14           432.32     155576 05/07    13,400.00   155 622 05/ 19       1,400.00
   155538 05/14        2,273.32      155577 05/07        201.45  155 623 05/22            36.58
   155539 05/09           570.19      155578 05/07    8,894.00   155624 05/20             70.10
   155540 05/08           488.00     155579 05/12        807.61  155625 05/22            157. 5 6
   155541 05/09           2 65. 00    155580*05/12    1,230.14   155626 05/21            668.82
   155542 05/09        1,032.85       155582 05/08       185.25  155 627 05/23           125.82
   155543 05/06      11,585.00        155583 05/09   22,000.00   155628 05/20            840.00
   155544 05/08           977.34      155584 05/14       160.00  155 62 9 05/23          324.03
   155545 05/09           607. 0 9    155585 05/07   30,672.00   155 630 05/22           304.34
                                * * * C 0 N T T N U R D * + +
      Case 2:18-mc-51223-PDB ECF No. 31 filed 05/02/19                             PageID.698   Page 43 of 117


                                                                                                     PAGE:       3
                                                            ACCOUNT:                                 OS/30/2014




                           TJA{llJ-CHRYSLER NATIONAL
                           TRAINING CENTER



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                            FI COMMERCIAL CKG ACCOUNT
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                     - - - - - - - - - -        CHECKS - - - - - - - - - -
 CHECK # .. DATE . . . . . . AMOUNT CHECK # .. DATE . . . . . . AMOUNT CHECK # .. DATE . . . . . . AMOUNT
  155 631 OS/ 19             248.12    155662 05/21             521. 26  155693 05/21              317.85
  155632 05/29           2,116.80      155663 05/22             175.00   155694 05/21              104. 00
  155633 05/21           5,052.54      155664 05/20             824. 72  155695 05/27              204.50
  155634 05/22               232. 96   155665 05/20             230.00   155696 05/20              974.78
  155635 05/21           2,435.83      155666 05/21             4 68. 35 155697 05/20              225.30
  155636 05/21               172. 00   155667 05/21             125.00   155698 05/21          1,897.50
  155637 05/21                  4. 00  155668 05/21       20 I 881. 68   155699 05/20              630.98
  155638 05/21               400.00    155669 05/20         1,250.00     155700 05/27                70.00
  155639 05/23               338.00    155670 05/20       27,044.24      155701*05/23        55,343.66
  155640 05/23                 36. 81  155 671 05/21            931. 84  155703 05/27              141. 82
  155641 05/20               295. 48   155672 05/21         3,161.07     155704 05/20              130.28
  155642 05/21               837.00    155673 05/23               81. 49 155705*05/20 144,512.00
  155643 05/21               478.28    155674 05/19         1,495.00     155708 05/21              219. 8 9
  155644 05/20               668. 97   155675 05/23             336.61   155709 05/20           2, 418 .18
  155 645 *05/21         3,349.25      155676 05/22             415. 2 6 155710 05/21              139. 44
  155647 05/27               210. 21   155677 05/22             363.54   155711 05/21              448.91
  155648*05/21           1,422.70      155678 05/23             163.00   155712 05/21              225.00
  155650 05/23               139.99    155679 05/21             538.07   155713 05/21                52.67
  155651 05/27            2,139.62     155680*05/21             945.00   155714 05/ 19               60.00
  155652 05/22            2,034.15     155682 05/30             210.77   155715*05/27              427.96
  155653 05/21               355.13    155683 05/23          5,000.00    155719*05/30           1,239.00
  155654 05/21               213.18    155684 05/21             294.00   155722 05/27           1,445.00
  155655 05/23            3,214.00     155685 05/28             230.00   155723 *05/30              953.SO
  15.5656 05/22              7 64. 75  155686 05/23             302.38   155727 *05/2 9         2,048.00
  155657 05/27               319.00    155687 05/22              443.00  155730 05/30               706. 05
   155658 05/22               32 6. 00 155688 05/22              395.00  155731*05/27           2,475,00
   155659 05/21         10,800.00      155689 05/21               85.50  155733 05/27           1, 097. 68
   155660 05/21               675.00    155690 *05/21        3,245.29
   155661 05/22               323.60    155 692 05/23            409.99

(*)    INDICATES A GAP IN CHECK NUMBEP. SEQUENCE

                          - - - -    -   -   - OTHER DEBITS -              -   -    - - -
DESCRIPTION                                                                                  DATE          AMOUNT
TRANSFER TO    FI COMMERCIAL CKG ACCOUNT                                                    05/06       1,827.13
ATT Payment    XXXXX9012EPAYE                                                               05/06       3, 3 94. 22
TRANSFER TO    FI COMMERCIAL CKG ACCOUNT                                                    05/07     109,035.32
TRANSFER TO    FI COMMERCIAL CKG ACCOUNT                                                    05/12       8,257.84
                           * * * C 0 N T I                  N   IJ   E D       * * *
   Case 2:18-mc-51223-PDB ECF No. 31 filed 05/02/19           PageID.699      Page 44 of 117


                                                                                   PAGE:       I.I

                                                  ACCOUNT:                         05/30/2014




                       UAW-CHRYSLER NATIONAL
                       TRAINING CENTER



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                      FI COMMERCIAL CKG ACCOUNT
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                              - ~ OTHER DEBITS - - - - - -
DESCRieTION                                                                DATE        AMOUNT
TRANSFER TO FI COMMERCIAL CKG ACCOUNT                                     05/21    109,865.35
TRANSFER TO FI COMMERCIAL CKG ACCOUNT                                     05/28      8,421.81
TELCO BILLING Telco Recurring201095                                       05/29         27. 95
            - - -   ITEMI~TION   OF OVERDRAFT AND RETURNED ITEM FEES -

        **************+++++++••················································
        *                   I      TOTAL FOR         I         TOTAL          *
        *                                     I      THIS eERIOD      I      YEAR TO DATE      *
        •---------------------------------------------------------------------•
        * TOTAL OVERDRAFT PEES:                   $.00                $.00    •
        •---------------------------------------------------------------------·
        * TOTAL RETURNED ITEM FEES:               $.00                $.DO    •
        •••••••••••••••••••••••••••••••••••••••••••••••••••••••••••••••••••••••
                                       DAILY BALANCE
DATE ........... BALANCE         DATE ..... ,,, ... BALANCE        DATE ........... BALANCE
05/01      2,428,157.35          05/12       1,947,766.39          05/21        436,458.82
05/02      2,419,074.68          05/13       1,910,188.33          05/22        429,287.08
05/05      2,399,984.26          05/14       1,697,894.03          05/23        337,908.60
05/06      Z,327,924.38          05/15       1,690,539.37          05/27        306,208.01
05/07      2,103,236.72          05/16       1,261,994.72          05/28        277,361.20
05/08      2,089,095.63          05/19       l,199,430.25          05/29        265,870.45
05/09      1,961,551.15          05/20       1,008,320.22          05/30      2,687,761.13

                                   - END OF STATEMENT -
    Case 2:18-mc-51223-PDB ECF No. 31 filed 05/02/19        PageID.700     Page 45 of 117


                                                                                PAGE:    1
                                                 ACCOUNT:                       06/30/2014




                       UAW-CHRYSLER NATIONAL
                       TRAINING CENTER                                                30-2
                       2211 E JEFFERSON                                                  1
                       DETROIT MI 48207-4104                                           262



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     FIRST INDEPENDENCE BANK OFFERS A FULL MENU OF MORTGAGE PRODUCTS AT THE
     BANK. WHETHER YOU ARE LOOKING TO l?URCHASE A NEW HOME, REFINANCE YOUR
     EXISTING MORTGAGE, OR TAKE OUT A LINE OF CREDIT FOR OTHER REASONS- WE
     HAVE A SOLUTION TO MEET YOUR NEEDS. !?LEASE GIVE US A CALL AT
     313-230-0068, ABOUT ANY MORTGAGE NEEDS YOU MAY HAVE.

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                        FI COMMERCIAL CRG ACCOUNT
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                                                LAST STATEMENT 05/30/14     2 / 68 7 I 7 61. 13
MINIMUM BALANCE                  1,244,285.18           3 CREDITS              757,878.04
AVG AVAILABLE BALANCE            1,852,553.05         268 DEBITS            2,154,989.33
AVERAGE BALANCE                  1,853,060.66   THIS STATEMENT 06/30/14     l, 2 90 I 64 9 8 4
                                                                                          o




                  - - - - - - - - - - DEPOSITS - - - - - - - - - -
REF# ..... DATE ...... AMOUNT REF# ..... DATE ...... AMOUNT REF#., ... DATE ...... AMOUNT
         06/03      7,868.04

                                 OTHER CREDITS - - - - - -
DESCRIPTION                                                         DATE             AMOUNT
INCOMING WIRE FEE 12457553                                         06/23              10.00
Incoming Wire 12457553 CHRYSLER GROUI? LLC                         06/23         750,000.00
                                          CHECKS - - - - -
 CHECK # .. DATE ...... AMOUNT  CHECK# .. DATE ...... AMOUNT CHECK# .. DATE ...... AMOUNT
  155364*06/ll       9,783.89    155615*06/23         622.00  155720 06/02      2,700.00
  155370*06/02          500.00   155646*06/09         121.20  155721*06/06         900.00
  155510*06/09       1,824.00    155649*06/05      1,000.00   155724 06/09      1,337.40
  155549*06/09          105.51   155681*06/17         269.00  155725 06/16         650.00
  155591*06/20       2,500.00    155702*06/04      1,136.50   155726*06/02      5,690.00
  155599*06/12          800.00   155706 06/16         675.00  155728 06/02      1,210.00
  155605 06/02       2,700.00    155707*06/12      5,000.00   155729*06/04      1,690.00
  155606 06/02       2,862.00    155716 06/02      1,175.00   155732*06/02      2,760.00
  155607*06/02       1,395.00    155717 06/11          50.00  155734*06/09         750.00
  155613*06/09          503.40   155718*06/16         175.00  155736 06/16      1,155.00
                            * * * C 0 NT I N U E D * * *
   Case 2:18-mc-51223-PDB ECF No. 31 filed 05/02/19              PageID.701   Page 46 of 117


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                                                  •.!i.CCOUNT:                    06/30/2014




                         UATM-CHRYSLER NATIONAL
                         TRAINING CEN'rER



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                           FI COMMERCIAL CKG ACCOUNT
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                                  - - - -    CHECKS - - - - -
 CHECK   # .. DATE .••••• AMOUNT  CHECK # .. DATE ...... AMOUNT CHECK# .. DATE ...... AMOUNT
  155737 06/16           356.00    155777 06/06          633.03    155814 06/09       458.00
  155738 06/06        5,026.85     155778 06/09          405.28    155815 06/23       302.75
  155739 06/09        1,074.00     155779 06/05       2,627.44     155816*06/09       324.45
  155740 06/13           760.00    155780 06/12          513. 94   155818 06/18       471. 80
  155741 06/06       10, 960.50    155781 06/05      18,966.19     155819 0 6/05      320.00
  155742 06/04           433.00    155782 06/05      27,674.62     155820 06/05   25,157.90
  155743 06/05        1,325.00     155783 06/06      13,935.48     155821 06/25       500.00
  155744 06/16        4,875.00     155784 06/09          539.72    155822 0 6/05      170.00
  155745 06/09        3,510.00      155785 06/05         807.69    155823 0 6/05      317.85
  155746*06/06        2,048.00      155786 06/0 9     1,038.75     155824 06/05       104.00
  155749 06/03        2,500.00      155787 06/0 6        243.00    155825 06/10       520.99
  155750 06/06             76.87    155788 06/05         385.00    155826 06/09       475.85
  155751 06/05             91.10    155789 06/04         205.40    155827 06/05       90 9. 91
  155752 06/09           919.32     155790 06/26      1,846.48     155828 06/05     6,246.00
  155753 06/09        9,113.53      155791 06/10         186. 25   155829 06/11     2,386.80
  155754 06/12             13.42    155792 06/03         185.04    155830 06/09       578.39
  155755 06/05           425.27     155793 06/05         805.36    155831 06/09     1,270.11
  155756 06/09           107.67     155794 06/04       9,210.00    155832 06/10   59,643.66
  155757 06/06           756.00     155795 06/03     75,512.36     155833 0 6/25  51,089.00
  155758 06/10        1,215.99      155796 06/11         318. 0 6  155834 06/11       132.27
  155759 06/06           645.55     155797 06/11         329.30    155835 0 6/05      138.27
  155760 06/03           129.00     155798 06/09       1,072.25    155836 06/09       116.26
  155761 06/09       13,442.11      155799 06/09          593. 32  155837 06/04        207.00
  155762 06/06           947.48     155800 06/19          716.50   155838 06/06        962. 67
  155763 06/06             40.12    155801 0 6/0 9        855.72   155839 06/06     3,002.92
  155764 06/06             93.17    155802 06/11          263. 00  155840 06/06     2,500.00
  155765 06/05        1, 956.40     1.55803 06/09         158.00   155841 06/12        158.00
   155766 06/09       1,417.29      155804 06/09          419. 52  155842 06/06        293.00
  155767 06/05         6,444.30     155805 06/05          525.02    155843 06/09       373.45
   155768 06/09          104.09     155806 06/11           13.44    155844*06/03       260.00
   155769 06/06          265.00     155807 06/09          431.07    155846 06/09       386.28
   155770 06/06       7,016.02      155808 06/05           32. 98   155847 06/09 218,166.00
   155771*06/10           158.00    155809 06/06          237. 94   155848*06/26       375.00
   155773 06/11           898.62    155810 06/09       1,203.02     155850 06/20    5,000.00
   155774 06/12           139.95    155811 06/11          759. 79   155851 06/20   11,000.00
   155775 06/09        2,337.21     155812 0 6/0 9        210. 3 9  155852 06/18   33,739.20
   155776 06/10           158.00    155813 06/13          272. 00   155853 06/12 262, 219. 71
                               * * * C 0 N T I N U 8 D * * *
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                                                                                                    PAGE:    3
                                                               Acc:OUNT:                            06/30/2014




                                 UAW-CHRYSLER NATION.!!..L
                                 '!'RAINING CENTER



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                                  FI COMMERCIAL CKG ACCOUNT
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                    -    -   -    -   -    -    - - - -    CHECKS - - - - - - - - -     -
 CHECK   # .. DATE ••.••• AMOUNT                CHECK # .. DATE •••••• AMOUNT CHECK   # .. DATE •.•••• AMOUNT
  155854 06/23          75,000.00               155895 06/24        840.00      155935 06/18            414. 00
  155855 06/16               544. 00            155896 06/20        221. 5 6    155936 06/17            555. 64
  15585 6 06/16         10,000.00               155897 06/18          64.70     155937 0 6/23           442. 01
  155857 06/18           3,511.00               155898 06/18        191.96      155 938 0 6/24          233.00
  155858 06/19           1,803.00               155899 06/18     8,107.76       155939 06/20            236.00
  15585 9*0 6/2 6            900.00             155900 06/17     5,239.99       155940 06/24            248. 68
  155861 06/23           2,250.00               155901 06/20          28.00     155941*06/19            698. 97
  1558 62 06/18          9,855.00               155902 06/23        432.32      155943 06/18         2,985.00
  155863 06/23           1,800.00               155903 06/23      2,003.16      155944 06/25            159.32
  155864 06/26           1,058.00               155904 06/17         914.99     155 945 0 6/20          900.00
  155865 06/18           2 I 3 90 o 20          155905 06/24        37 5. 8 6   155946 06/18            545.10
  155866 06/19          23,491.00                155906 06/19        651.90     155947 06/18            945.00
  155867 06/24           4,500.15                155907 06/18     3,041.66      155948 06/20          5,000.00
  1558 68 06/18          3,200.00                155908 06/17     3,890.00      15 5 94 9 0 6/ 18       57 9. 97
  155869 06/20           1,470.00                155909 06/23   26,000.00       155 950 0 6/20          430.00
  155870 06/23               933.00              155910 06/20        3 65. 00   155 951 06/18           250.80
  155871 06/24               416.00              155911 06/23        830.08     155 952 06/18             75.00
  155872 06/24           2,680.00                155912*06/18        826. 44    155 953 *0 6/23         205.27
  155873 06/20               333.00              155914 06/23          99.90    155955 06/18            134.40
  155874 0 6/20          2,752.00                155915*06/18     1,197.56      15595 6*0 6/24          306.50
  15587 5 0 6/2 4        4,240.00                155917 06/19        343.74     155960*06/18            646.20
  15587 6 0 6/23         9,441.00                155918 06/18        902.40     155962 06/20          2,054.78
  155877 06/19           2,955.25                155919 06/20        13 6. 81   155963 06/19            195.00
  155878 06/18           1,834.00                155920 06/18     4, 649. 79    155964 06/19            588.75
  15587 9 06/18          1,455.00                155921 06/18     4,720.08      155965 06/17            210.25
   155880 06/19          1,920.00                 155922 06/19         83.00    155 966 06/18         3,719.42
   155881*06/19          2, 68 9. 00             155923 06/18        169.50     155967 06/24             645.26
  155883 0 6/23          8, 3 92. 70             155924 06/18        203.00     155 968 •o 6/23          265.32
   155884*06/30          1,112.00                 155925 06/17       313.42      155970 06/19            115.02
   155887 06/16         13,675.00                 155926 06/17       330.98      155971 06/19         1,500.00
   155888 06/19              14 6. 18             155927*06/18       528.75      155972 06/19         2,710.84
   155889 06/23                53.05              155929 06/18       125.00      155973 06/18            700.00
   1558 90 06/18               36. SB             155930 06/20       247.00      155974 06/20            208.00
   155891 06/23               139. 80             155931 06/18   29,872.96       155975*06/18            29·1J.OO
   155892 0 6/23              176.31              155932 06/19   71, 060. 7 9    155978 06/17            130.00
   155893 06/18                86. 71             155933 06/20        530 .10    155979 06/18        25,000.00
   155894 06/20               129. 0 6            155934 06/26        221.76     155980*06/18         4,564.33
                                          * *   +   C 0 N T I N U E D + .. *
   Case 2:18-mc-51223-PDB ECF No. 31 filed 05/02/19                 PageID.703      Page 48 of 117


                                                                                          PAGE:    4
                                                     ACCC11JNT:                           06/30/Z014




                         TJAT/IJ-CHRYSLER NATIONAL
                         TRAINING CENTER




=======~~==z===~====~===========================================================
                          FI COMMERCIAL CRG ACCOUNT
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                                  - - - -   CHECKS - - - - -
 CHECK # .. DATE ...... AMOUNT    CHECK# .. DATE ...... AMOUNT           CHECK # .. DATE ...... AMOUNT
  155982*06/30       5,000.00      155999 06/30         388.40            156030*06/30      15,981.96
  155984*06/25       2,500.00      156000*06/26          22.02            156057 06/30          414.89
  155989 06/20       2,998.00      156002*06/27 379,122.39
  155990*06/30          206. 67    156004*06/27     90,572.00

( *) INDICATES   A GAP   IN CHECK NUMBER SEQUENCE

                                     - - OTHER DEBITS - - - - - -
DESCRIPTION                                                                     DATE           AMOUNT
TRANSFER TO FI CQlllOVIERCIAL CKG   ACCOUNT                                    06/04      110,895.83
ATT Payment XXXXX4011EPAYJ                                                     06/06        6,177.80
TRANSFER TO FI COMMERCIAL CKG        ACCOUNT                                   06/06        8,448.91
TRANSFER TO FI COMMER•::IAL CKG      ACCOUNT                                   06/18      109,707.82
Incoming Wire Fee 12457553                                                     06/23            10.00
TRANSFER TO FI COfvOVIERCIAL CKG     ACCOUNT                                   06/24        8, 291. 33

                  - ITEMIZATION     OF   OVERDRAFT AND RETURNED ITEM FEES -
         ***********************************************************************
         +                                               T~AL FOO               •     TOTAL
         *                                              THIS PERIOD             • YEAR TO DATE
         *---------------------------------------------------------------------*
         * TOTAL OVERDRAFT FEES:                   $.DO                 $.OD    ..
         *---------------------------------------------------------------------•
         * TOTAL RETURNED ITEM FEES:                              $.DO                     $.DO        •
         ***********************************************************************


                                        DAILY BALANCE
DATE ...... ,, ... BALANCE        DATE ...... , .... BALANCE              DATE ...... ,, ... BALANCE
06/02       Z,666,769.13          06/11       1,968,071.81                06/20       1,244,285.18
06/03       2,596,050.77          06/12       1,699,226.79                06/23       1,864,896.51
06/04       2,472,273.04          06/13       1,698,194.79                06/24       1,842,119.73
06/05       2,375,842.74          06/16       1, 666,089.79               06/25       1,787,871.41
06/06       2,310,632.43          06/17       1,654,235.52                06/26       1,783,448.15
06/09       Z,044,889.87          06/18       1,392,493.43                06/27       1,313,753.76
06/10       1,983,006.98          06/19       1,280,824.49                06/30       1,290,649.84
                                     - END OF STATEMENT -
   Case 2:18-mc-51223-PDB ECF No. 31 filed 05/02/19                  PageID.704   Page 49 of 117


                                                                                        PAGE:    1
                                                       A\>:~OUNT:                       07/31/ZOlq




                         UAW-CHRYSLER NATIONAL
                         TRAINING CENTER                                                     30-2
                         2211 E JEFFERSON                                                        2
                         DETROIT MI 48207-4104                                                251



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     FIRST INDEPENDENCE BANK OFFERS A FULL MENU OF MOP.TC.:;AGE PRODUCTS AT THE
     BANK. WHETHER YOU ARE LOOKING TO PURCHASE A NEW HOME, REFINANCE YOUR
     EXISTING MORTGAGE, OR TARE OUT A LINE OF CREDIT FOR OTHER REASONS- WE
     HAVE A SOLUTION TO MEET YOUR NEEDS. PLEASE GIVE US A CALL AT
     313-230-0068, ABOUT ANY MORTGAGE NEEDS YOU MAY HAVE.

================================================================================
                      FI COMMERCIAL CRG ACCOUNT
=======================================;========================================
                                                      LAST STATEMENT 06/30/14       1,290,649.84
MINIMUM BALANCE                      779,913.52                3 CREDITS            3,018,929.89
AVG AVAILABLE BALANCE            2 I 3 92, 5 98, 67         2 60 DEBITS             2,057,222.36
AVERAGE BALANCE                  2,406,818.62         THIS STATEMENT 07/31/14       2,252,357.37

                     - - - - - - - - - - DEPOSITS - - - - - - - - - -
REF #, .. , , DATE ...... AMOUNT REF # ..... DATE .. , ... AMOUNT REF #. , , .. DATE ... , , . AMOUNT
            07/0l     17,450.44            07/17 101,479.45

                                   OTHER CREDITS - -                - -
DESCRIPTION                                                                  DATE           AMOUNT
Incoming Wire 12587572 CHRYSLI!rn C;ROUP LLC                                07/07     2,900,000.00

                  · · - - - - - - - - - CHECKS - - - - -
 CHECK# .. DATE ...... AMOUNT CHECK # .. DATE ...... AMOUNT CHECK# .. DATE ...... AMOUNT
  155419*07/07         600. 00   155958 07/02        125.29  155 994 07I11     3,031.50
  155747*07/23         795.00    155959*07/14     l,525.0IJ  155995 07/15      2,380.00
  155772*07/10         449.64    155961*07/07        450.00  155996 07/10      3,289.00
  155849*07/14 153, 326. 00      155 969*07 /07   1,600.00   155 997 0·1I11   14,305.ZO
  155860*07/0l      l,800.00     155977*07/03        116.00  155998*07/21         478.23
  155882*07/07         975.00    155981*07/24     5,000.00   156001*07/01     37,500.00
  155913*07/28         945. OIJ  155985*07/17     1,000.00   156003*07/14 373,307.55
  155916*07/02         535.52    155987 07/01     1,250.00   15 600 6 07 /02       53.0.5
  155928*07/07         567.0IJ   15598:?.*07/09   5,000.00   156007 07/03      1,172.43
  155954*07/08         440.00    155991 07/09     8,2'.19.32 15 6008 07 /02       250.00
  155957 07/07         580.00    155992*07/16     1,800.00   156009 07/02         q20.oo
                            * * * C 0 N T I N U E D * + *
   Case 2:18-mc-51223-PDB ECF No. 31 filed 05/02/19                  PageID.705      Page 50 of 117


                                                                                            PAGE:    2
                                                          ACCOUNT:                          07/3112014




                             UAW-CHRYSLER ~~TIONAL
                             TP~U.INING
                                      CENTER




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                               FI COMMEF\CIAL CKG ACCOUNT
=======;===================:;;~;========;=======================================


                                         - - - -    CHECKS - - - - -
 CHECK   # .. DATE . . • . . • AMOUNT    CHECK # .. DATE .•..•• AMOUNT   CHECK   # .. DATE •.•••. AMOUNT
  156010 07/08              57.33         156048 07/03         399.83    156087 07/01         2, 95 6. 92
  156011 07/08              89.56         156049 07/01     19,102.37     156088 07/03            297.47
  156012 07/01             102.20         156050 07/01     38,671.50     156089 07/02         3,551.45
  156013 07/14               50.50        156051*07/03         530.10    15 60 90 07 /03         139. 44
  156014 07/03             791.00         156053 07/01       1,495.00    15 60 91 07 /03         432. 8 9
  156015 07/01             615.14         156054 07/07           98.56   156092 07/14            800.20
  156016 07/21             256.07         156055 07/07         300.00    15 60 93 *07 /02        534.00
  156017 07/02               92.21        156056*07/10         252.63    15 60 95 07 /02         873. 3 6
  156018 07/07           2,278.40          156058 07/09        333.02    15 60 96 07 /03         150.75
  156019 07/25           2,236.80          156059 07/07      1,721.24    156097*07/02            120.00
  156020 07/02           5,095.76          156060 07/02        237.94    156099 07/28            240.00
  156021 07/02             241.23          156061 07/01      1,998.71    156100*07/11         1,733.94
  156022 07/02               40.12         156062 07/08        219.46    15 6102 07 /03      79,119.50
  156023 07/02             306.69          156063 07/09        229.57    156103 07/09        50,000.00
  156024 07/02           2,435.83          156064 07/03     29,476.12    156104 07/23         3,000.00
  156025 07/02           1,711.87          156065 07/08        221.52    156105 07/28         2,380.00
  156026 07/02             237.91          156066 07/08        245.00    156106 07/08        75,000.00
  156027 07/01           3,157.49          156067 07/07        107.52    156107 07/14         2,586.00
  156028 07/03             736.61          156068 07/02      7,046.22    156108 07/10         1,800.00
  156029*07/01             265.00          156069 07/02     19,555.47    156109 07/14            507.75
  156031 07/03           1,117.68          156070 07/02         533.00   156110 07/11            216.00
  156032 07/16             138.75          156071 07/14      5,000.00    156111 07/08         2,230.00
  156033 07/07           2,337.21          156072 07/02          85.50   15 6112 07/10        2,470.00
  156034 07/02               86.83         156073 07/01      8,760.59    15 6113 07I11        2,669.50
  156035 07/02           1,789.16          156074 07/02         198.00   156114 07/10            904.00
  156036 07/02          15,171.63          156075 07/02         317.85   156115 07/23            225.00
  156037 07/03           3,664.64          156076 07/02         112.00   156116 07/14            375.20
  156038 07/02           5,490.09          156077 07/03         696.80   1.561.1'7 0'7/11    24,900.00
  156039 07/03           1,168.00          156078 07/01         123.64   156118 07/10        15,000.00
   156040 07/03             243.00         156079 07/07         267.83   156119 07/16         2,850.00
   156041 07/09         36,200.00          156080 07/07         517.77   156120 07/30            240.00
   156042 07/02             368.14         156081 07/03      1,627.37    156121*07/29        13,275.00
   156043 07/03             962.48         156082 07/02         242.00    156123 07/17            540.00
   156044 07/03             193.00         156083 07/02    111,200.00     156124 07/23         3,325.00
   156045 07/07             301.07         156084 07/07         349.00    15612.S 07/10           407.57
   156046 07/01             417.27         156085 07/03         779.96    156126 07/14            204.00
   156047 07/01          1,686.97           156086 07/01        354.21    156127 07/1'1          20'.l. 00
                                   *    * * C 0 N T I N    U ~ D * * '
        Case 2:18-mc-51223-PDB ECF No. 31 filed 05/02/19               PageID.706     Page 51 of 117


                                                                                             PAGE:    3
                                                          ACCOUNT:                           07/31/2014




                          UAllJ-CHRY:~T1l':P. NATIONAJ,
                          TRAINING CEN'l'ER




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                           FI COMMERCIAL CKG ACCOUNT
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                                 - - - -   CHECKS - - - - -
 CHECK # .. DATE ••.••• AMOUNT CHECK # .. DATE •..••• AMOUNT              CHECK# .. DATE .••.•• AMOUNT
  156128 07/11           204.00   156165 07/17     3,934.06                156204 07/17     40,487.04
  156129 07/17        3,300.00    156166 07/23        257.01               156205 07/17           393. 67
  156130 07/21        2,350.00    156167 07/18        3 94. 50             156206 07/18     21,366.78
  156131 07/16        4,849.96    156168 07/16    15,700.00                15 6207 07 /22         200.18
  15613207/18             58.99   156169 07/21        160. 89              156208 07/28      1,345.00
  156133 07/21            53.05   15 6170 07/18       588.00               156209 07/17           250.00
  156134 07/18            33.25   156171 07/17        142. 00              156210 07/16      1,275.00
  156135 07/25           185.81   156172 07/17        318.48               156211 07/17           124.25
  156136 07/25           139.80   156173 07/17          32. 36             156212*07/28       5,000.00
  156137 07/17            75.51   156174 07/16     1,730.81                156214 07/22           351. 25
  156138 07/23             1.58   156175 07/17     1,104.15                15 6215*07 /21         510.00
  156139 07/18           756.00   156176 07/17    16, 5 61. 90             156219 07/25       8,650.52
  156140 07/21           514.99   156177*07/18        815.36               15 6220 07 /22     1,787.99
  156141 07/17           164.00   156180 07/21        165.20               15 6221 *07 /Z:i 16,603.71
  156142 07/28        5,000.00    156181 07 /21       403. 41              15 6223 07 /24     1, 901. 00
  156143 07/21           895.35   156182 07/17        415.39               15 6224 *07 /28    s I 901, 00
  156144 07/21            91.69   156183 07/16        396.25               156226 07/28       2,340.00
  156145 07/21           238.02   156184 07/18        434.13               156227 07/29       1,847.00
  156146 07/17        4,387.23    156185 07/21        400.29               15 6228*07 /2 9        573.00
  156147 07/23           127.67   156186 07/18        428.13               156230 07/29       1,053.00
  156148 07/16        4,811.98    156187 07/21        574.01               15 6231 07 /25     1,219.00
  156149 07/18            62.00   156188 07/16        38 9. 02             156232 07/29           960.00
  156150 07/21           432.32    156189 07/21       48 9. 64             156233*07/30           864.00
  156151 07/21        2,451.38     156190 07/17        945.00              15 6235 *07 /28    2,220.00
  156152 07/16           119.81    156191 07/16        312.66              156238 07/25           503.40
  156153 07/18       12,068.10     156192 07/18     5,000.00               156239*07/30       1,241.52
  156154 07/16        5,000.00     156193 07/17        301. 01             15 6253*07 /30         12 9. 7 5
  156155 07/17           159.00    156194 07/18        231.14              15 6273 *07 /31        136. 44
  156156 07/21           582.94    156195 07/16       173.00               156275 07/30           14 6. 00
  156157 07/25           109. 40   156196 07/18        168.00              1.S 627 6*07 /30       281. 5 6
   156158*07/18          347.30    156197*07/22        198.50              156280*07/29      45,901.20
   156160 07/21          315.67    156199 07/21        369.20              156290*07/28           241. 92
   156161 07/17          743.39    156200 07/17     1,156.03                156292*07/31      1,200.00
   156162 07/22          147.79    156201 07/22        64 9. 94             15 62 99*07 /30   1,050.85
   156163 07/16      31,609.86     156202 07/28        152.83               1:16306 07/28         268. le.
   156164 07/18        2,850.30    156203 07/18    48,000.00

 ( *)    INDICATES A GAP IN CHECK NIJJulBEP. SEQUENCE
                               *   * *   C 0 N T I N U E D           ,. * *
   Case 2:18-mc-51223-PDB ECF No. 31 filed 05/02/19                  PageID.707   Page 52 of 117


                                                                                       PAGE:    4
                                                      AC('.OUNT:                       07/31/2014




                      UAW-CHP.Y:'JT,ER NA'l'I1"JNAL
                      TRAINING CENTER



===========================~======~=============================================
                       FI COMMERCIAL       CK13   ACCOUNT
========================~=~~==~~~~~~~~~~~~=======~==~;~~~~;;~;~=================
                    - - - - - - - OTHER DEBITS - - - - - -
DESCRIPTION                                                                  DATE          AMOUNT
TELCO BILLING Telco Recurring201095                                         07/01           27. 95
TRANSFER TO FI COMMERCIAL CKG ACCOUNT                                       07/02      105,028.61
ATT Payment XXXXX401ZEPAYN                                                  07/07        2,395.69
TRANSFER TO FI COMMERCIAL CKG ACCOUNT                                       07/07       34,562.73
TRANSFER TO FI COMMERCIAL CKG ACCOUNT                                       07/16      105,018.68
Diner~ Club DINERS PMT 30           05                                      07/18       74,279.88
TRANSFER TO FI COMMERCIAL CKG ACCOUNT                                       07/23        8,167.00
TELCO BILLING Telco RecurringZ01095                                         07/29           27. 95
TRANSFER TO FI COMMERCIAL CKG ACCOUNT                                       07/30      105,543.61
               - ITEMIZATION OF OVERDRAFT AND RETURNED ITEM FEES -
        ***********************************************************************
        *                                     TOTAL FOR            TOTAL      *
                                             THIS PERIOD       YEAR TO DATE   *
        *---------------------------------------------------------------------*
        * TOTAL OVERDRAFT FEES:                   $.00                 $.00    *
        *---------------------------------------------------------------------*
        * TOTAL RETURNED ITEM FEES:               $.00                 $.00    *
        ***********************************************************************


                                      DAILY BALANCE
DATE ........... BALANCE        DATE . . . . . . . . . . . BALANCE      DATE ........... BALANCE
07/01      1,187,815.32         07/14            2,841,870.54           07/24      2,465,906.91
07/02        903,728.59         07/15            2,839,490.54           07/25      2,452,862.18
07/03        779,913.52         07/16            2,663,314.76           07/28      2,426,828.25
07/07      3,629,904.50         07/17            2,688,259.74           07/29      2,363,191.10
07/08      3,551,401.63         07/18            2,520,377.88           07/30      2,253,693.81
07/09      3,451,389.72         07/21            2,508,645.53           07/31      2,252,357.37
07/10      3,426,816.88         07/22            2,505,309.88
07/11      3,379,756.74         07/23            2,472,807.91

                                   - END OF STATEMENT -
Case 2:18-mc-51223-PDB ECF No. 31 filed 05/02/19                            PageID.708         Page 53 of 117



                                                                                               PAGB:         l
                                                          ACCOUNT:                             08/Z9/2014




                             UAW-CHP.YSLBR NATIONAL
                             TRAINING CBNTIP.                                                      30-Z
                             ZZll I JBFFBP.SON                                                           l
                             DITP.OIT HI 48207-4104                                                    268



    ••••a~•••••••••••••••m•mmaa•~=••••••••••••••••••••~••a••••=•••••••••••••••••••••

          PIP.ST I:NDIPIRDBNCI BARK OFFBP.S A FULL HINU OF HOP.TGAGB PRODUCTS AT THI
          BARK. WHBTHBP. YOU AP.I LOOKING TO PUP.CHAS! A NIW HOHi, P.IFINAIJCI YOUR
          BXISTING HOP.TGAGI, OP. TAKI OUT A LIMB or CP.IDIT FOP. OTHIP. P.IASONS- VI
          HAVI A SOLUTION TO HllT YOUR NBBI>S. PLIASI GIVB US A CALL AT
          313-230-0068, ABOUT ANY HOP.TGAGB NllI>S YOU HAY HAVB.

    •••••••••••••••••a••D•=•ca====•=aamam••••••••••••a•ama•=•=•aaamama•a=•~===••=•••

                               FI COHHBP.CIAL CKG ACCOUHT
    aaaaaaa••••••••••••••••••••••••cm•a••••=••••••••••••••••••••••••••••••••••••••••

                                                         LAST STATBHIMT 07/31/14           2,ts2,357.37
    MINIMUM BALANCE                     l,l8Z,716.98             2 CP.II>ITS               3,887,212.56
    AV(; AVAILABLI BAL.AMC!             Z,??Z,110.84           Z76 DIBITS                  2,466,872.98
    AVBP.AGB BALANCB                    Z,?73,3?4.21     THIS STATBMBNT 08/29/14           3,672,696.95

                          - - - - - - - - - - DEPOSITS - - - - - - - - - -
     P.BF O. .... I>ATB ...... AMOUNT P.BF # •.••. DATl ...... AMOUNT P.IF t ..... I>ATB ...... AMOUNT
               08/08     12,212.56

                                       OTHBP. CP.II>ITS - - - - - -
    DBSC:RIPTIOH                                                                    DATB               AMOUNT
    In~oainq Wira 13057026 CHP.YSLIP. GROUP LLC                                    08/18    3,875,000.00

                        - - - - - - - - - - CHICKS - - - - -
      CHICK t .. DATB ...... AMOUNT CHICK t .. DATB ...... AMOUNT           CHICK t .. DATB ...... AHOUNT
       155581*08/04         101.00             156213•08/20     l,000.00        156243 08/06          53.05
       155845*08/07       4,200.00             156217 08/01     2,000.00        156244 08/07      l,418.09
       155942*08/0l         275.00             156210•00101     2,000.00        156245 08/06         109.17
       155976*08/07      16,000.00             156222•08/0l     3,250.00        156246 08/06          69.10
       155986*08/13       S,000.00             156225•08/27     3,120.00        156247 08/05          34.90
       156052*08/01         409.29             156229•08/0l     l,190. 00       156248 08/08      l,785.54
       156098*08/04       5,000.00             156234•08/06        325.00       156249 08/08         129.06
       156159*08/18         144.65             156237*08/0S        251.59       156250 08/06         840.00
       156178 08/0l         198.01             156240 08/08        459.56       156251 08/ll         653.69
       156179*08/01     369,493.33             156241 08/0S        295.60       l562s2•00;0?          29.16
       156198*08/04         201.40             156242 08/07        464.36       156254 08/07      5,922.3?
                                  ... ...   ... C 0 N T I » U   B D .........
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                                                                                          PAGll:    Z
                                                          ACCOUNT:                        09/Z9/Z014




                             UAW-CHRYSLER NATIONAL
                             TRAINING CENTER



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                           FI COHHBP.CIAL CRG ACCOUNT
    •••••=•a•••••••••••••••••••••••••==••••=••••=••••••••••••••==••••••=m•••••••m•••

                       - - - - - - - - --           CHICRS - - - - - - - - - -
     CHICR # .. DATE ...... AMOUNT       CHICK # .• DATB ..••.. AMOUNT CHICK # .. DATB ..•.•. AMOUNT
      156255 08/07            39.81       156301 08/06        4,Z00.00   156348 08/18          6Z2.30
      l56Z56 08/07            9Z.46       156302 08/08           151.31  156349 08/Zl         960.00
      156257 08/06        1,951.40        156303 08/14      30,300.00    156350 08/12       Z,360.00
      l56ZS8 08/ ll           98.35       156304 08/18           349.00  156351*08/18     l0,680.lO
      156259 08/06           129.00       156305*08/04      15,000.00    156353 08/18       l,323.13
      156260 08/lZ           315.00       156307 08/05            31.36  156354 08/13       2,889.00
      156261 08/07           Z65.00        156308 08/19          429.41  156355 08/13     50,000.00
      156262 08/06        1,083.08         156309 08/0?          297.42  156356 08/12          316.00
      156263 08/05      10,625.00          156310*08/25 145,600.05       156357 08/13          316.00
      156264 08/06           641.72        156312 08/05       3,000.00   156358 08/ 11         316.00
      156265 08/ll        2,990.75         156313 08/0?       3,332.52   156359 08/20            53.0S
      156266 08/07        Z,337.21         156314 08/08          139.44  156360 08/20            39.91
      156267 08/18           170.64        156315 08/08          277. ll 156361 08/20          139.80
      156268 08/11           246.97        156316 08/08          432.?l  15636Z 08/20          185.62
      156269 08/07      16,374.40          156317 08/07          458.00  156363 08/19          107.17
      156270 08/07           371. 75       156318 08/27     16,Zl7.97    156364 08/Zl            56.68
      156271 08/06            83.00        156319 08/06          172. 00 156365 08/18          168.56
      156272*08/18        4,700.00         156320 08/08       2,380.00   ,156366 08/Z6           97.18
      156274*08/ 14          350.57        156321*08/06          979.94  156367 08/19          840.00
      156278 08/05        2,797.41         156323 08/08          139.35  156368 08/21          568.99
       156279*08/05      22,331.24         156324 08/06          6Zl. 62 156369 08/20          666.92
       156281 08/13          ZlZ.04        156325 08/ll       3,000.00   156370 08/12          Z57.0l
       156282 08/01          249. oz       156326 08/07       1,000.00   156371 08/19      18,925.00
       156283 08/07       1,495.00         156327 08/08          500.00  1563?2 08/19          218. 78
       156284 08/07          488.32        156328'"'08/06     5,304.6Z    156373 08/19      2,557.62
       156285 08/Zl          149.97        156331 08/11 212,970. 00      156374 08/19          175.00
       156286 08/13          Zll.18        156332 08/11      50,000.00    156375 08/18           84.00
       156287'"'08/08        448.66        156333*08/05      17,23Z.73    156376 08/18         301.00
       156289*08/13          257.80        156336*08/13       1,400.00    156377 08/20          43Z.32
       156291*08/06          723. 69       156338 08/18       4,872.00    156378 08/20       2,887.32
       156293 08/06          158.00        156339 08/13       3,157.75    156379 08/13          911. 37
       156294 08/08       1,035.48         156340'"'08/13      3,154.74   156380*08/Zl          535.75
       156295 08/06       5,809.70          156342 08/14       5,251. 00  156382 08/19          130.06
       156296 08/07          203.00         156343"'08/ll      1,230.00   156383 08/21           10.54
       15629? 08/12          607.43         156345 08/18       l,54?.00   156384 09/18       1,069.00
       156298"08/05          182.05         156346 08/18       Z,532.00   156385 08/14          442.44
       156300 08/ll        l,04l.Z5         15634? 08/12       1,206.00   156386 08/ZO          109.40
                                  .. *    * C 0 N T I N U I D .. * *
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                                                                                      PAGB:    3
                                                       ACCOUNT:                       08/29/2014




                              UAW-CHRYSLER NATIONAL
                              TllINJ:NG CINTllP.




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                               FI COHHBRCIAL CKG ACCOUNT
     •••••••=•=•=~•a•••••••••••••••••••••••••••••••••••••••••••••••••••~=====••••••~=



                       -   - - - - - CHICK
     CHICK # .. DATI •..... AHOUNT
                                     - - - -# .. DATB
                                                 CHICKS - - - - -
                                                      ...... AMOUNT
                                                                   - - - - -
                                                                    CHICK # .. DATI ...... AMOUNT
      15638? 08/20          389.Zl      156426 08/20       820.00    1564?4 OB/ZS      ZS,299.05
      156388 08/14          Z00.20       156427 08/15        B0.64   1564?5 08/29          lZZ.96
      156389 08/22          368.00       156428 08/20      374.50    156476 08/22        2,391.83
      156390 08/18       2,424.06        156429 08/22      3?8.80    1564??*08/22        ?,208.34
      156391 08/20      34,333.54        lS6430 OB/ZO      3'7.00    156480 OB/27        2,400.00
      156392 08/18      ?2,826.24        lS6431 OB/20      320.00    156481*08/ZS            53.05
      156393 08/18        Z,S6l.4Z       156432*08/20        SS.SO   156483 08/29          158.78
      156394*08/20          419.00       156434 08/20      200.00    156484 08/28            32.lO
      156396 08/12          197. ZS      156435 08/18      317.85    lS648S 08/29          129.06
      156397 08/18        3,Zl0.00       156436 08/ZO      llZ.00    lS6486*08/Z9          840.00
      156398 08/13          375.00       156437 08/20      SZ0.99    156488*08/28           894.70
      156399 08/13          181.27       156438 08/18      562.17    156491*08/29        6,406.38
      1S6400 08/18          582.46       156439 08/ZS      284.70    15649S*08/29        2,0S0.33
      156401 08/18          284.57       156440 08/18      870.00     lS6497 08/Z8          875.00
      156402 08/18        5,301.13       156441 08/20      620.Sl    156498*08/28           640.80
      1S6403*08/l9      14,193.ZO        156442 08/19   1,600.84     156500*08/29        S,393.86
      15640S 08/14      24,31?.08        156443*08/19      9S7.73    156S04*08/27           586.00
      lS6406 08/19           465.9Z      15644S 08/21  81,963.58      156506*08/27       2,503.65
      156407 08/21           636.12      1S6446 08/25      594.00     156509 08/29       3,050.lS
      156408 08/20            81.50      156447*08/22  24,537.60      156510 08/29          384.80
      156409 08/19        l,922.00       156449 08/21      467.52     156511 08/29          326.00
      156410 08/28 382,168.0Z            156450 08/22   1,400.00      156512 08/28          909.35
      156411 08/29           454.16      156451 08/18   Z,686.60      156513*08/28          295.08
      156412 08/19           364.75      156452 08/lS      892.48     lS65lS 08/28           98.49
      156413 08/Zl           26S.OO      1S6453 08/lB   1,159.38      156516 08/27      12,197.59
      156414 OB/18           628.81       156454"08/21  5,250.00      156517 08/27      ZZ,638.52
      156415 08/20           250.00       156456*08/20 39,200.00      156518 08/29       l,2SO.OO
      156416 08/18           436.00       lS6458 08/27 18,671. 00     156519*08/28      62,390.68
      1S6417 08/21        3, 751. 94      156459 08/26     2SO.OO     1S6522 08/28           33.60
      lS641B 08/18           478.96       156460"08/22      500.00    1S6523"08/27       1,495.00
      1S6419 08/18           433.00       156462*08/29      900.00    1S6526*08/29          480.48
      156420 08/Zl       32,400.00        156464 08/29  l,660.95      156528 08/28          lll.00
      156421 08/18           329.98       lS646S"08/29  3,233.00      156529*08/29          421.60
      156422 08/19           249.35       156468 08/29  1,688.00      156536 08/27       2,117.85
      156423 08/19           252.62       156469"08/29  1,080.00       1S6537*08/29         94S.OO
      156424 08/25           419.50       1S6471"08/28  2,579.00       156539*08/29     32,000.00
       156425 08/20           58.97       156473 09/20  1,757.40       156542"08/27         262.08
                                  • *   • C 0 N T I N U II D + • +
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                                                                                   PAGB:    4
                                                    ACCOUNT:                       08/Z9/Z014




                            UAW-CHRYSLBR NATIONAL
                            TRAINING CBNTBR



    ••=•a•••=m•========a••••••••••••••••=••••====•••••cmmama:==============2==~•=•m=

                             FI COMHBRCIAL CKC ACCOUNT
    mmm•a•m••=m====•m•••••••••••••••••••••••••••••••••••••••••••••••••••••••••a•••••

                      - - - - - - - - - - CHICKS - - - - - - - - - -
     CHICK •.. DATI ...... AMOUNT CHICK # .. DATl ...... AHOUNT CHICK # .. DATl ...... AHOUNT
      156544*08/28      l,130.60   156552*08/28          457.25  156562*08/29       1,838.04
      156546 08/27      5,S00.00   156555 08/28          607.50  156565*08/28          217.00
      156547*08/29      7,000.37   156556*08/29          109.lZ  156569 08/29      17,748.00
      156549*08/28         327.39  156559 08/29          449.20
      156551 08/27         438.88  156560*08/29       2,823.57

     (*) I:m>ICATIS A CAP IN CHICK NUHBIR SBQUINCI

                         - - - - - - - OTHIR DBBITS - - - - - -
    DISCRIPTIOR                                                          DATB           AMOUNT
    ATT Paym•nt XXXXX1003BPAYH                                          08/06         2,989.35
    TRAMSPIR TO PI COMHBRCIAL CKC ACCOUNT                               08/06        ZS,004.87
    TRAMSPBR TO PI COMMIRCIAL CKC ACCOUNT                               08/13       103,282.36
    TRANSPBR TO PI COMHIP.CIAL CKC ACCOUNT                              08/19         8,347.38
    TRAMSPIR TO PI COHHBP.CIAL CKC ACCOUNT                              08/27       107,516.08
    TRANSFBP. TO PI COMHIP.CIAL CKC ACCOUNT                             08/29        l?,643.60
    TILCO BILLING Telco RecurrinqZ01095                                 08/29             Z7.95
    TRANSPBP. TO FI COMHBP.CIAL CKG ACCOUNT                             08/Z9        27, 7Z9. 00

                     - ITIMIZATIOR   or   OVERDRAFT AND RITURNBD ITIM FIBS -

             ***************************************************************•*******
             •                                          TOTAL POP.              TOTAL        •
             •                                    THIS PIRIOD       YIAP. TO DATI  •
             *---------------------------------------------------------------------7
             • TOTAL OVBRDRAPT FIBS:                   f.00                 $.00   •
             *---------------------------------------------------------------------·
             • TOTAL RBTURNBD ITBH FIBS:               LOO                 $.00    •
             **************************************•**•*****************************


                                           DAILY BAL.ARCH
     DA TB •....•••••• BALANCB       DATB ........•.. BAL.AHCB       DATl ........... BALANCB
     08/01       l,872,49Z.7Z        08/06      1,744,160.13         08/11      1,421,158.59
     08/04       l,852,190.3Z        08/07      l,689,37l.Z6         08/12      1,415,899.90
     08/05       1,795,408.44        08/08      1,693,705.60         08/13      l,244,551.39
                                 * • • c 0 N T I NU BD * * •
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                                                                                PAGB:    5
                                                      ACCOUNT:                  08/Z9/Z014




                           UAW-CHRYSLBR NATIONAL
                           TRAINING CBNTD.



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                                PI COl!HBRCIAL CKG ACCOUNT
    ••••••••••••••••••••••••••••••••••••••••••••••••••••••••••••••••••••B•••••••••••
                                            DAILY BAL.AllCB
    DATB ........... BALAllCB         DATB ........... BALANCI   DATl .........•. BALARCI
    08/14      1,183,690.10           08/20      4,796,870.68    08/Z6      4,460,5Z5.54
    08/15      1,182,716.98           08/21      4,669,854.59    08/27      4,Z64,860.9Z
    08/18      4,934,061.97           08/22      4,633,070.02    08/28      3,793,397.71
    08/19      4,88Z,325.l4           08/25      4,460,872.72    08/Z9      3,672,696.95

                                        - IND OP STATBHBNT -
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        1.
        2.
             New Hire Orientation Summary
             Sampe New Hire Orientation Agenda
                                                                        3
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                                                                                                                                   Search




          Training and Education
              Apprentice Program             NTC Homepage > Training > New Hire Orientation
              Health and Safety
              Programs                       New Hire Orientation
              New Hire Orientation
                                             Chrysler and the UAW provide a jointly developed, standardized New
              Skilled Trades                 Hire Orientation for all new hourly employees. The training is
              Rationalization                followed by one additional day of training at the location where the
              Tuition Assistance             employee is assigned to work.
              Plan (TAP)
                                             The orientation will be conducted by Chrysler personnel and UAW
              TAP Representatives
                                             International staff, plant Human Resource Department staff and
              World Class                    Benefit Representatives.
              Manufacturing
              Academy (WCMA)                 The standardized orientation will consist of information presented in
                                             accordance with guidelines established by Chrysler and the UAW.              For information regarding New
                                             The information will acquaint the employee with company business,            Hire Orientation, contact Shawn
                                             benefits, opportunities and responsibilities that each employee has          Fain, UAW, at 586.427.4041 or
                                             as a representative of the company and as members of the UAW to              Greg Gomolak, Chrysler, at
                                             include the history of each organization.                                    586.427.4008.
                                             The information may also include both the union and company
                                             perspective on issues that affect the workplace and community.




         Site Map | About NTC | Contact Us                                                         Visit UAW and Chrysler sites:

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         2211 East Jefferson Avenue - Detroit, Michigan 48207
         Web Design & Marketing by WitCreative




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                 1.    Artist at Work Description                       4
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          1.   “Valuing Diversity Makes Sense” Booklet                  5
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                  UAW-Chrysler National
                 Training Center Diversity
                                                                                  Ctt~L..l'.::-R
                    Mission Statement
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                                                                                 LEADERSHIP COMMITMENT TO DIVERSITY
    Diversity in the workplace is a major source of the UAW
    and Chrysler Group LLC vitality and innovative spirit.            As CEO of Chrysler Group LLC, I have taken on the role of executive sponsor of the
                                                                      Global Diversity Council to underline the importance of diversity in our company. I
                                                                      personally feel privileged to have the opportunity to lead this company ... And to work
    Both parties strive to achieve a workplace where people           with all of you to build this company and our great brands into all we know they can
    of different cultures and lifestyles can reach their full         and should be.
    potential and contribution.                                       The effort starts with leadership.
                                                                      Great leaders are those who have the courage to challenge the obvious, to travel
    Such an environment develops respect for differences              uncharted paths, to break away from convention and the old way of doing things. to be
    while fostering caring relationships, cross-cultural              unpredictable to the competition and to go beyond the tried and tested-men and women
    understanding and commitment to our common goals.                 who understand the concepts of service, of community, and respect for others. That's
                                                                      the kind of behavior we all must expect of each other and of ourselves. It leads to an
                                                                      engaged culture.
    The UAW and Chrysler Group LLC encourage people to
    become fully engaged in the challenging issues of                 Culture is the fabric that holds organizations together. It is not just an ingredient for
                                                                      success; it is the essence of success itself. What will make all of this possible is the
    Diversity within our organizations.                               culture we are going to build with great teams based on mutual respect and openness.
                                                                      This is why my leadership team and I are committed to creating an atmosphere where
    Through training and practice, we work to enable a                all of our people feel respected and valued. because every person plays an important
                                                                      role in shaping our future. including employees. our supply base. our marketing and our
    workplace where a broad spectrum of informed                      dealer network.
    perspectives prepare each worker for life in an
    increasingly diverse workplace.                                   Chrysler Group LLC and its people have a future with promise. We will reach the full
                                                                      measure of that promise only as one. united diverse team.
                                                                      Sergio Marchionne




                       ~ UAW-Chrysler
2                      V//!!!!1 National Training Center                                                                                ~ UAW-Chrysler
                                                                                                                                        ~1 National Training Center    3
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                                                                                                                              Open the Door to Diversity
    October 12, 2011
                                                          (223) Diversity Training
    International Union, UAW
                                                                                                                  Your work environment is full of
    Attention: Mr. General Holiefield                                                                             diversity. The challenge is to bring
                                                                                                                  diversity to a central point where
    Dear Sirs:
                                                                                                                  differences like culture, attitude,
         During discussions leading to the 1999 Agreement, Chrysler                                               and lifestyle can come together
    Group LLC and the UAW discu.ssed at length those social issues                                                and people can learn from each
    facing our workers. The parties unanimously agreed that diversity                                             other and grow.
    in the workplace was one of the most important issues facing the
    Union, Company, and its workers.

        Accordingly, a joint study team, consisting of UAW and                                                    Opening the door to diversity will
    management members of the UAW-Chrysler National Training                                                      reveal that we are more alike than
    Center staff, along with representatives from the Company's                                                   we thought. You will find out
    Diversity and Work/Family department was established to develop,                                              things you might not have known
    implement, monitor and evaluate a diversity training program for all                                          had you allowed the door to stay
    employees. The parties reaffirmed their strong commitment to the
                                                                                                                  closed.
    program during the 2003 discussions and agreed to explore and
    implement the inclusion of diversity training in other National
    Training Center Programs such as Employee Participation and
    Paid Education Leave. Status updates for existing programs and                                                Whatever the differences may
    recommendation for continued diversity training opportunities will                                            be, we need to learn to use those
    be presented to the Joint Activity Board (JAB) and the National                                               differences in a way that will allow
    World Class Partnership council (NWCPC) quarterly. Funding for
    this activity will be provided from National Training Funds upon                                              us to build positive, productive
    approval by the Joint Activity Board.                                                                         work environment where everyone
                                                                                                                  can and is contributing and
        Very truly yours,                                                                                         helping to move the organization
        CHRYSLER GROUP LLC                                                                                        forward. This starts with us as
        By A. A. Iacobelli
                                                                                                                  individuals within the organization.
    Accepted and Approved:

    INTERNATION UNION, UAW
    By: General Holiefield




                             ~ UAW-Chrysler
    4                        ~ National Training Center                                                                                        ~ UAW-Chrysler                       5
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                                                                                             What are the Benefits of
           What Is Diversity?
When we hear the word diversity, we most often think of racial or cultural
                                                                                               Valuing Diversity?
differences. The true meaning of diversity encompasses much more.
                                                                                 What's in it for UAW and Chrysler Group LLC? What's in it for our
                                                                                 Work Group?

                                                                                 Diversity-savvy companies typically enjoy:
                                                                                 • Greater productivity
                                                                                 • Lower absenteeism and turnover rates
                                                                                 • Increased teamwork
                                                                                 • Improved creativity at all staffing level

                                                                                 Companies that value diversity have ability to view an organization
                                                                                 from different perspectives, which is a key component in today's
                                                                                 global market.


                                                                                        "Companies with well-established diversity
                                                                                           programsare~tteac;t 9fthe game ... a
                     Valuing Workplace                                                   reputation for lnplusiveness enhances a
                      Diversity Means                                                      firm's image as employer of choice."
Valuing and respecting employee differences-race, gender, nationality,                                           - Fortune Magazine
background, experience, talent, and lifestyle, just to name a few. These
differences are referred to as dimensions. Some dimensions can be seen
and some cannot.
                                                               The list is         Beliefs, Attitudes, and Value Systems
                                                                                 From the time we are born and throughout
                                                                                 our lives, our parents, teachers, friends,
                                                                                 and colleagues condition us.

                                                                                 Conditioning shapes our thinking before
                                                                                 we are aware of what is happening. Some
                                                                                 acts of conditioning are passed on from
                                                                                 generation to generation. Our beliefs,
                                                                                 attitudes, and value systems are influenced
                                                                                 as a result of our conditioning and become
                                                                                 habits that we live by as adults.




                           ~UAW-Chrysler                                                                     ~ UAW-Chrysler
6                          V/JJl!!i National Training Center                                                 Vf)}1!j National Training Center          7
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           Stereotyping (Thinking)                                                             lnmact Cycle
                                                                            Our conditioning, stereotypes, and prejudices all work together to form a cycle
Conditioning influences how we respond to the opposite sex, people
                                                                            that impacts how we interact and relate to others.
of different ethnic backgrounds, or sexual orientations. These are
learned behaviors and are ingrained in us at a very young age. It is
no wonder that as adults we may hold on to stereotypes and prejudices.      Conditioning                                                       Stereotyping
                                                                            BeliefsNalues/                                                     Thinking
                                                                            Attitudes


                                                                                                          THIS CYCLE
                                                                                                       SHOWS HOW OUR
       A stereotype is a fixed and                                                                     BELIEFS, VALUES,
                                                                                                         AND ATTITUDES
    distorted generalization about
                                                                                                      DRIVE HOW WE THINK
    all members of a group without                                                                      AND ULTIMATELY
         regard for individuality.                                                                     HOW WE BEHAVE.


Stereotyping may lead to prejudicial behavior.


               Prejudice (Behavior)                                         Consequences                                                       Prejudice
Prejudicial behaviors exclude, limit, and disadvantage those whom
                                                                            Reinforcement                                                      Behavior
we perceive to be different from ourselves.

                                                                                          How to BREAK the Cycle

                                                                                  Rethink our beliefs in certain stereotypes

                                                                                  Re-educate ourselves with broader exposure
                                     Prejudices are judgments                     Consider the individuality of every person
                                   made about others that reinforce
                                      a superiority I inferiority                 Learn to handle sens1t1ve s1tuat1ons by using simple
                                           belief system.                         tools and techniques



                         ~ UAW-Chrysler                                                                     ~ UAW-Chrysler
8                        VflJl:i NaUonal Training Center                                                    V//Jt!1 National Training Center                  9
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                       ATM Technique                                                                             "OUCll'' Technique
What It Is
                                                                                    What It Does
•    ATM is a pro-active approach for challenging our stereotypes,                  • Teaches us to become more aware of each other's sore
     which results in a more positive and productive work environment.                spots.

•    ATM prevents offensive situations from occurring by changing                   •    Gives us an inoffensive method of addressing someone's
     our behavior toward others.                                                         behavior or language that may have offended us or someone
                                                                                         around us.

     ~ sk others about things you don't understand before you make an assumption.   •    Teaches us to know and respect each other's cultural and
                                                                                         personal boundaries.

     1r       ell others your preferences and expectations.
                                                                                    How To Use It
                                                                                    If you are insulted or offended by something someone says (this
     ~ aintain your cool! Don't let your emotions get the best of you.              could be through inappropriate humor, jokes, slurs, etc.),

                                                                                    SIMPLY SAY:
                                                                                                       "OUCH!" or "That's an OUCH for me."

                                                                                    This gets the attention of the individual. Then you briefly explain
                                                                                    why the words or action made you uncomfortable.

                                                                                    How I Respond
                                                                                    In most cases, what was said was not intended to insult or offend.

                                                                                    SIMPLY SAY:
     Asking Questions for Understanding                                                                   "I certainly didn't mean to offend."
                                                                                                         "I'm glad you explained that to me."
          •    Questions are part of active llstenlng and understanding.
                                                                                    Ouch Is Not
          •    By asking questions, we start to dispel our assumptions              • Intended to be used for a deep dive into feelings and sensibilities
               and biases about other people.
                                                                                    •    Intended to place shame and blame
          •    Show someone you're Interested In them-ask them some                 •    Intended to create long drawn out apologies or explanations
               questions.

                                                                                    Simons. G. & Zuckerman. A. (1994). Worlcing Together: Succeeding in a
                                                                                    Multicultural Oraanization. Menlo Parle. CA: Crisp Publications.

                                ~UAW-Chrysler
10                              V//IJ!1 National Training Center                                                         ~ UAW-Chrysler
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                 Cormuicating Rasnact                                                                                 NmMmal Colmuications
                                                                                                 => Communication consists of
 => Fosters improved work relations                                                                 verbal and nonverbal behaviors
 => Creates an environment where                                                                 => Its not always what you say, but
    Co-workers feel:                                                                                sometimes what you don't say.
     •   Safe
     •   Secure
     •   Supported
     •   Respected




              Listening Without Bias
                                                                                                           Includes such things as ...
                                     => Concentrate on the message,
                                        not on the way you feel about
                                        the messenger.                                                                            r::ir' Gestures
                                     => Strive for mutual understanding.                                                          r::ir' Personal space
                                     => Strive for and begin to make                                                              r::ir' Eye contact
                                        constructive changes.
                                                                                                                                  r::ir'Touching




                       ~UAW-Chrysler                                                                                         ~ UAW-Chrysler
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                  lncl&l&ion--                                                              Exclusion
Inclusion is a process to ensure that all voices are heard and       Exclusion is a process that separates and leaves out certain people.
respected and that no one is excluded.




      People on the Inside Feel:                                         People on the Outside Feel:




                         ~ UAW-Chrysler                                                         ~ UAW-Chrysler
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                   Inclusion Behavior Model



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The Model is a visual definition of Inclusion.
Notice that all of the arrows represent behaviors and are pointed
inward to form an inclusive circle.

In all interactions, our behaviors either cause others to feel included
or excluded.




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                                                                                                     Chrysler Group LLC Policy
            If you are experiencing •••

Anyone who believes that he or she has been subjected to or witnessed
activity or offensive behavior in the workplace due to race, color, gender,
                                                                                      Polley Number: 3 - 6

                                                                                                                                         -
                                                                                      Subject I Title: Discrimination and Harassment Prevention

                                                                                      Purpose:
                                                                                      Ctvysler Group LLC is cormtitted to providing a workplace that is tee of disainination
                                                                                      and harassment. The company expects that all persons in the workplace will be
sexual orientation, gender identity, age, veteran status, marital status, religion,   treated with dignity, their rights respected and their privacy maintained.
national origin, disability unrelated to the ability to perform a job, or any other
basis protected by law, see Chrysler Group LLC Policy 3-6.                            It Is a Polley of Chrysler Group LLC:
                                                                                      FREEDOM FROM DISCRIMINATION - Chrysler Group LLC's policy is to
                                                                                      provide equal employment opportunity without regard to race, color, sex, sexual
                                                                                      orientation, gender identity, age, veteran status, marital status, religion, national
You may choose any of the sources listed below to assist you:                         origin, disability unrelated to the ability to perform a job, or any other basis
                                                                                      protected by law. This applies to all aspects of employment, including hiring, job
                                                                                      assignment, training, career development, promotion and compensation.
•    Union Steward
                                                                                      The prohibition against workplace discrimination also includes discriminatory
•    Supervisor                                                                       treatment based on stereotypes or preconceptions associated with a protected
                                                                                      category. For example, the prohibition against sex discrimination protects
•    Local Human Resources Office                                                     employees whose behavior or dress does not match the expectations of others
                                                                                      for a particular sex; the prohibition against disability discrimination protects
•    Local Plant Equal Appllcatlon Committee                                          employees from adverse employment action based on unfounded perceptions
                                                                                      that they are unable to perform their work due to substantially limiting impairments.
•    Local UAW Civil Rights Committee
                                                                                      FREEDOM FROM HARASSMENT - Chrysler Group LLC does not tolerate
•    EEO Compliance and Governance Office (1-866-374-1208)                            harassment of any kind in the workplace including harassment based on a
                                                                                      person's race, color, sex, sexual orientation, gender identity, age, veteran
                                                                                      status, marital status, religion, national origin, or disability that has the effect of
                                                                                      interfering with the person's work performance or creating an intimidating, hostile
Sometimes people don't realize that they are being offensive. In                      or offensive work environment.
certain circumstances, using the "ATM Technique," the "Ouch
Technique," or a similar method may resolve the situation.                            "Workplace" includes any Chrysler Group LLC facility as well as business
                                                                                      settings such as Company travel, meeting with customers, suppliers, and
                                                                                      members of the public and business related social events.

UAW and Chrysler Group LLC policies do not require employees to                       Whether conduct constitutes harassment may depend on whether it is viewed
                                                                                      as offensive by the individual who is the subject of the conduct. This means that
confront the offender before filling a claim.                                         an employee may violate this policy without intending to harass. Examples of
                                                                                      conduct that may constitute harassment include unwelcome physical conduct;
                                                                                      threats or intimidation; displaying offensive items or pictures; interfering with or
                                                                                      sabotaging someone's work or personal or assigned property; and making
                                                                                      jokes or inappropriate comments about a person's age, race, sex, religion,
                                                                                      ethnicity, sexual orientation, gender identity, marital status or disability. One act
                                                                                      or a series of acts may constitute harassment.

                                                                                      This policy specifically prohibits sexual harassment. "Sexual harassment"
                                                                                      means unwelcome physical or verbal conduct that is either of a sexual nature,
                                                                                      or directed to a person because of that person's sex, when:


                             ~ UAW-Chrysler                                                                               ~ UAW-Chrysler
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•     Submission to, or rejection of, such conduct is used as a factor in making        Sponsored By:      Corporate Diversity Office
      decisions affecting hiring, evaluation, promotion, selection, or other
      aspects of employment or                                                          Related Polley     Chrysler's lntegritv Code
                                                                                        Statement.:        Chrysler's Standards·ot-e'"'ut"'td..,.u""c~t -
•     Such conduct creates an intimidating, hostile or offensive work environment .
                                                                                                           Chrysler's Policy 3-4 Emolovee Discipline
Examples include unwanted sexual advances; sexual or sex-based commentary
about an individual's body; touching; obscene comments or gestures; display                                This Policy supersedes any other previously published
of sexually suggestive objects or pictures; and questions or statements about                              policy on this specific subject including, but not limited
sexual conduct or sexual orientation or preferences.                                                       to, the following:

REPORTING A COMPLAINT - Anyone who believes that he or she has been
subjected to or witnessed activity or behavior in the workplace that violates                              •    Chrysler Group LLC Corporate Policy 3-6, Sexual
this policy should make Chrysler Group LLC aware of such conduct. A complaint                                   Harassment, dated August 18, 1987
may also be submitted to the EEOC (or similar state agency}. Reports or
complaints will not affect rights tmder any applicable collective bargaining            Delegation of     Corporate Diversity Office has the delegated administrative
agreement, including access to any grievance procedure. Notification within             Responsibilities: responsibility for implementation of this Policy. The
Chrysler Group LLC should be made to:                                                                     Corporate Diversity Office is thereby authorized to
           - Corporate Diversity Office (1-866-374-1208); or                                              recommend appropriate action. As such, the Corporate
           - The Local Human Resources Office; or                                                         Diversity Office must be appraised of all reported
           - Management.                                                                                  occurrences of discrimination or harassment.

COMPLAINT INVESTIGATION - Chrysler Group LLC's policy is to take                      Initial Approval By: Corporate Executive Approval Date:            08/18/1987
discrimination and harassment complaints seriously. Chrysler Group LLC will                                Committee
investigate all discrimination and harassment complaints in a timely and
impartial manner. Moreover, Chrysler Group LLC will use its best efforts to:

          - Protect the privacy and reputation of all individuals concerned;
          - Maintain confidentiality throughout the investigation process and
             share information only on a need-to-know basis; and
          - Assure that persons against whom allegations are made are treated
            fairly.                                                                   Latest Revision      Business Practices Latest Revision: 5/28/2014
                                                                                      Approved By :        Committee
RETALIATION - Retaliation against a person who in good faith reports, or
participates in the investigation of, a discrimination or harassment allegation is
strictly prohibited.

DISCIPLINE - Employees who violate this policy will be disciplined up to and
including discharge.

Definitions:

     Scope:      This policy applies regardless of whether local laws prohibit
                 discrimination and harassment. Chrysler Group LLC
                 reserves the right to modify, revoke, suspend, or terminate
                 this policy at any time. This policy is not intended to create a
                 contract between Chrysler Group LLC and any of its
                 employees.



                               ~ UAW-Chrysler                                                                         ~ UAW-Chrysler                                    23
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                  This booklet has been produced by the
                        Diversity Committee at the
                  UAW-Chrysler National Training Center
                         In cooperation with the
                 EEO Compliance and Governance Office.




                       ~ UAW-Chrysler
                       V/lJt!i National Training Center

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1.    Workplace Violence Prevention Reference Manual                         6
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                   UAW-DaimlerChrysler National Training Center Reference Manual



~                                       Workplace Violence Prevention
                              (Primary Program - Employee Assistance Program)

     Program DescrjQtion

    The UAW-DaimlerChrysler Work.place Violence Prevention Program provides a response network for
    information regarding a troubled employee or troubling situation that, if ignored or provoked, could
    lead to a threat, act or escalation of violence. Composition of this response network includes:

            • Employees - considered to be the foundation of the system, who are the
              primary source of information needed to engage the violence prevention
              process.

           • Local Response Teams - composed of both UAW and management members who assess and
             validate infonnation regarding a troubled employee or troubling situation, and develop
             response strategies for safeguarding the employees and assets of their respective facility.

            • UAW-DaimlerCbryslerNational Training Center National EAP Steering
              Committee - responsible for developing and delivering training programs
              that facilitate the process, assessing program effectiveness, and serving as a
              process advisor for Local Response Teams.

~          • Executive Situational Assessment Team - A cross functional committee of
             executive management that serves as a consultant to Local Response Teams for
             situations beyond the scope of Local Response Team training or experience.

    Program History and Related Contractual language

    The DaimlerChrysler Workplace Violence Prevention (WPV) Program evolved from a Security & Fire
    Prevention Services Department procedure entitled, " Response to Threats and Acts of Violence."
    The procedure constituted a reactive rather than a preventative strategy whereby threats and acts of
    violence were addressed after they had already been committed. In this system the Security
    Department played a prominent role.

    In that phase of our violence prevention program, acts or threats of violence that fell short of disrupting
    the workplace typically were ignored or chalked off as "Shop Talk." Shop talk includes playful banter,
    exaggerated challenges and sometimes explicit threats of violence that may or may not be serious. By
    tolerating that form of communication in the work.place, the risk for violence was increased due to the
    potential for misjudging the intent of the statement. The danger of permitting Shop Talk is obvious: if
    99% of shop talk threats are meaningless, how do you determine the 1% that are real?

    From the perspective of a UAW represented employee, providing infonnation to management about a
    threat or act of violence equated to "ratting out" a fellow employee who may lose his/her job as a
    result. Consequently, there was a reluctance to report threats and acts of violence. Very little
~   information was provided at a time when preventative action was still a viable alternative.

    Guidelines were lacking that defined issues pertaining to our violence prevention efforts, and given the
    tolerance for shop talk, it is not swprising that inconsistencies resulted in addressing violence in the
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      workplace. It was clear that management and the UAW were not on the same page, and the UAW

_,    grievance procedme became central in settling disputes resulting from lack of program definition.
      This method of addressing violence in the workplace continued into the 1990's until agents of change
      necessitated a new approach to the issue.

      Agents of Change
                                                               ..   .~




     In the early 1990's, the broadcast media coined the phrase "Workplace Violence" and began
     sensationalizing its occurrence at every opportunity. Vivid camera footage was shown or promised at
     every opportunity, and it frequently promoted a workplace violence incident as the lead story. We
     were told that violence in the workplace was "epidemic," that the perpetrator had '~ust snapped" or
     acted without warning (out of the blue!). America was told that the workplace was no longer safe. A
     flood of surveys were conducted and published. Violence experts published books that promised the
     solution. Even Hollywood got into the act by producing movies such as "Falling Down" (Michael
     Douglas) and "The Shooting of Laura Black" (Brook Shields, Richard Thomas).
     In a relatively short time, America became acutely aware of workplace violence.

     In 1993 OSHA cited the Barclay Hospital of Chicago Illinois for failure to provide a safe workplace
     for its employees. In particular, the citation stemmed from injury to employees who were attacked by
     patients being treated for mental illness. Management had failed to take reasonable precautions to
     prevent injury to its employees. The case is one of the first on record where OSHA became involved in
     workplace violence issues. Although there was no specific section of OSHA regulations pertaining to
     workplace violence, it was cited under the General Duty Clause. Corporate America took notice.

_,   In 1994 a Corporate Workplace Violence Prevention Task Force was initiated at DaimlerChryslerto
     address the perceived shortcomings of our violence prevention "system." Representatives from
     Human Resources, Employee Relations, Medical, Legal, Security, and the National Training Center
     met over a period of months to assess the current methods of addressing violence in the workplace, and
     to detennine the course of action needed to create a viable violence prevention program. It was
     apparent that a change of direction was needed to shift from the reactive mode to the preventative.

     On December 9, 1994 a supervisor and an hourly employee were shot by another hourly employee
     over a dispute regarding a work assignment The supervisor was killed. The hourly employee
     recovered from critical injury. Although the response to the threats procedure functioned within its
     parameters, it underscored the need to focus on the preventative aspects. Fatal violence had visited
     DaimlerChrysler in the past, but it had been a long time. The belief that it wouldn't happen again in
     our house was shattered in a moment of time. As the media turned its cameras on another failure to
     prevent violence in the work.place, the UAW and DaimlerChrysler both asked the question, "What can
     we do to prevent this from occurring again?"

     As the Corporate Workplace Violence Task Force worked to determine the best approach in
     implementing a comprehensive workplace violence prevention program, a second reminder of the
     potential for violence in our workplace struck DaimlerChrysler on December 19, 1995. An hourly
     employee at the Sterling Heights Assembly Plant entered the building and fatally shot a co-worker



.,
     with whom be had a romantic relationship. He then exited the building and fatally shot himself in the
     bead. Like the incident that bad occurred just 12 months earlier, the workplace was in shock and
     severely traumatized.

     United in the purpose of preventing a similar incident from ever occurring again within
     DaimlerChrysler, the UAW and DaimlerChrysler incorporated that resolve in the 1996 National
     Agreement. Letter 109 of the National Agreement committed the corporation and the union to jointly
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       developing a comprehensive workplace violence prevention program. TraditionaVunilateral
       methods of addressing violence were not working - and it was clear that one side could not accomplish
       the goal without the other. The task was to do so without compromising the UAW's duty to represent,


"'
       and DaimlerChrysler's duty to provide a safe and secure work environment.

       The UAW-DaimlerChrysler National Training Center (NTC) was commissioned to lead the effort to
       create an effective WPVP program. Expectations were high that the joint operating philosophy of the
       NTC would successfully carry over to the creation and implementation of a violence prevention
       program at DaimlerChrysler.

       The UAW-DaimlerChrysler National Training Center began the task of creating a WPVP program by
       searching for a provider who was experienced and proficient in establishing such programs. A lot of
       providers raised their hand, but few were really qualified. The Threat Assessment Group, arguably the
       foremost authority in the world on the subject of workplace violence prevention, was selected as a
       partner to develop the UAW-DaimlerChrysler program. The National Training Center would continue
       to play a role in the program by serving as a process advisor, an agent for the identification of
       resources that may be used in future program applications, and as a coordinator for the educational
       process. It is significant that the Workplace Violence Prevention Program was made part of the
       Employee Assistance Program - a major component in placing an employee in need with helping
       resources.

      Intent of the Language



.,,   The intent of Letter 109 is to prevent threats or acts of violence from occurring or escalating in the
      workplace by creating a process whereby information regarding a troubled employee or troubling
      situation can be efficiently communicated to those who can arrange for the appropriate application of
      resources to safeguard the employees and assets of the Corporation. The intent is to accomplish this
      while maintaining the dignity and respect of the individuals involved, and without jeopardizing the
      respective roles of UAW or DaimlerChrysler leadership. Furthermore, the language recognizes the
      need to provide process modifications and training updates as necessary for program maintenance.


      Supporting Documents

      • Document #1 - Workplace Violence Prevention Program Process Model Description

      • Document #2 - Local Response Team Operational Procedures

      • Document #3 - UAW-DaimlerChrysler Joint Policy Statement on Workplace
                      Violence

      • Document #4 - Corporate Policy 3-7, Workplace Violence Prevention.

      Beneficiaries

      • Employees benefit from the Program by creating a safer workplace that provides


•       alternative means to resolve personal issues that could lead to a threat, act or
        escalation to violence.
      • UAW and management leadership benefit from the program by having a defined
         system in which to resolve issues that could jeopardize employee safety or job status.
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      • The Corporation benefits by improved productivity and morale resulting from a less
        stressful work environment.
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   This booklet is for you. It is a complete resource to help you plan for your scheduled training
   session at the World Class Manufacturing Academy (WCMA).


   Inside, you will find important information about the WCMA, travel, arrival, accomodations,
   and registration. Once you get to the WCMA, staff members will be available to
   answer questions.


   Both the UAW and Chrysler want to make your training at the WCMA productive
   and beneficial. We believe that you will find your training session to be a positive
   learning experience that provides you with the skills and information you need on the job.




         To achieve for the UAW and Chrysler the goal of developing and sustaining a world-class
         technically skilled work force through constant training and upgrading of skills using the
         latest state-of-the-art technologies.




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  LOCATION
  The World Class Manufacturing Academy is located at 2500 E. Nine Mile Road in Warren,
  Mich. Maps are located in the back of this booklet.

  REGISTRATION CANCELLATIONS
  Technology Training participants who absolutely must cancel a registration need to contact
  their Skilled Trades Committeeperson or LTTC member. Participants mayalso call the
  registration office of the WCMA at 800-683-8840. Participants and plants should be aware
  that late cancellations may limit opportunities to participate in future training sessions.


                                              PLEASE NOTE:
                                      ALL CANCELLATIONS OCCURRING
                                    LESS THAN SEVEN DAYS BEFORE THE
                                   SCHEDULED START OF A CLASS WILL BE
                                     SUBJECT TO A CANCELLATION FEE.



TRAVEL & ACCOMODATIONS
 Once you see that you are confirmed for a specific conference on a specific start date, you need to
 plan any travel arrangements. If you are outside the Detroit area and require a flight to attend
 a conference, please call the WCMA registration number, 800-683-8840, and let your LTTC
member know which method of transportation you require. The WCMA Travel Department will
issue airplane tickets and confirm accommodations for non-Detroit area enrollees. Return flights
will not be scheduled prior to 2 p.m. Fridays.


TRAVEL CANCELLATIONS
Conference participants who absolutely must cancel their travel arrangements or accommodations
need to contact the WCMA Travel/Registration Department as soon as possible, but no later than
3 p.m. Eastern Time on the Friday before the conference is to start. The participant or an LTTC
member should call the registration desk at 800-683-8840 or tie-line 8-737-4001.




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     Anyone who must cancel after 3 p.m. Eastern Time on the Friday before training is to
     start must call the Sterling Inn directly at 1-800-953-1400 to cancel the lodging
     reservations. The hotel staff will provide a cancellation number, which the participant
     should give to an LTTC member or the Plant Training Coordinator on the following Monday.
     The toll-free number is for cancellations only and other calls will not be taken. The main
     telephone number for the hotel is 586-979-1400.

     Participants who cancel must also turn in their unused travel tickets to an LTTC member or
     the Plant Training Coordinator as soon as possible. This will minimize the costs associated
     with cancellations.


     QUESTIONS
     If you have any questions, call 800-683-8840 or 8-737-4001 on the Chrysler tie-line, Monday
     through Friday, 7 a.m. to 3 p.m. Eastern Time.




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      WORLD CLASS MANUFACTURING ACADEMY PARKING
      All Technology Training participants are to park in Lot B. Signs are posted that direct you
      to this lot. A security guard is on duty 24 hours a day. Parking availability is on a first-come,
      first-served basis.


      HOUSING INFORMATION
      Out-of-area participants stay at the Sterling Inn or comparable hotel. Hotel selections are
      made by the UAW-Chrysler National Training Center based on room availability and good
      value.

      If a family member will accompany you to the Detroit area, inform your LTTC member or call
      the World Class Manufacturing Academy at 800-683-8840 so that appropriate hotel
      arrangements can be made.

      The primary designated hotel is The Sterling Inn.


      Location:       34911 Van Dyke Avenue
                      Sterling Heights, Michigan
      Phone:          586-979-1400

      Check-in Time: 3 p.m. Upon arrival, the hotel will provide you with additional
      information on check cashing, transportation, local community resources, emergency services
      and other questions you may have. Please note: a credit card will be required during hotel
      registration to cover incidental expenses such as phone calls.

      Food Service: The hotel has a full service restaurant for breakfast, lunch, and dinner.
      Other restaurants are located in the immediate vicinity.

      Other Services: An indoor swimming pool, water park, whirlpool, sauna, indoor basketball
      court, and 24-hour exercise room are available for your use.

      Special Needs: Special accommodations are available for individuals with disabilities
      requiring special services or arrangements. If you need such accommodations, please request
      them at the time your hotel reservation is made.

     Last Minute Cancellations: All cancellations occurring less than seven (7) days before the
     scheduled start of a class may be subject to a cancellation fee. Anyone who must cancel after
     3 p.m. Eastern Time on the Friday before training is to begin must call the Sterling Inn at
     800-953-1400 to cancel the lodging reservations. Be sure to get a cancellation number.
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     PARKING AT THE HOTEL
     Parking is available at the hotel for guests. You are responsible for your transportation to
     and from the WCMA.

     CHECKING OUT OF THE HOTEL
      On your last training day, check out of the designated hotel in the morning before going
      to the WCMA. Take all your luggage with you. A secure location for your luggage will be
      provided at the WCMA.


     AIR TRAVEL
     Requests for travel are included within the Registration Application. The WCMA
     staff will make the necessary travel and accommodation arrangements for
     participants from plants outside the Detroit area. The WCMA Travel Department
      will issue airplane tickets and confirm accommodations. They will send the Travel
     Itineraries to the LTTCs, who will then distribute them to the training participants.
     Return flights will not be scheduled prior to 2 p.m. on Fridays. Air travel not in
     compliance with this policy will not be reimbursed

     If you change your flight plans and the change involves a fee, YOU ARE               RESPONSIBLE
      FOR THAT FEE.


     LOCAL TRANSPORTATION TO/FROM THE AIRPORT
     Transportation to and from the airport can be arranged easily by limo or taxi. The simple
     reimbursement guidelines are as follows:

             •Reasonable limo/taxi fees or mileage reimbursement from residence or plant/depot to
              airport and return will be paid.
             •Reasonable long-term parking fees at the participant’s hometown airport will be paid.
             •Reasonable limo/taxi fees for travel from the airport to the designated hotel and
              return will be paid.
                          RECEIPTS MUST BE SUBMITTED FOR REIMBURSEMENT.


    TRANSPORTATION TO THE WCMA FROM DESIGNATED HOTELS
   All technology training participants are responsible for their own transportation to and from the WCMA.

    AUTO TRAVEL REIMBURSEMENT GUIDELINES (OUT-OF-STATE ONLY)
   Travel by auto by the most direct route (and return) to the TTC will be paid as follows: (not
   to exceed the equivalent of the lowest average coach air fare based on a fourteen (14) day
   advance ticket purchase.)

             • Forty-eight and one-half cents ($0.485) per mile or the current approved NTC standard.
             • If more than one (1) person travels in the car, only one (1) person will be reimbursed.
             • Gas receipts must be submitted if mileage reimbursement is requested.


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     MEAL ARRANGEMENTS FOR OUT-OF-STATE PARTICIPANTS
     Participants are responsible for making their own dinner arrangements. Costs for this
     meal must comply with the meal reimbursement policy. Breakfast and lunch will be
     provided on-site at the Technology Training Center. The designated hotels will provide
     details on local restaurants, some of which offer discounts to UAW-Chrysler participants.

     Please see your Committeeperson for the current travel per diem and details.

     SPOUSE/FAMILY
     Spouses or other family members may accompany you to the Detroit area but may not
     accompany you to the actual training session. The cost of meals or other everyday expenses
     for spouses will not be covered by the program but will be the responsibility of the
     individual.

     A variety of activities for your spouse and/or family are available in the immediate area as well
     as the Detroit Metro area. Information regarding these activities is available at the designated
     hotels and/or the WCMA Resource Library.

     If a family member accompanies you to the Detroit area, inform your LTTC member or call the
     WCMA at 800-683-8840 so that appropriate hotel arrangements can be made.




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     ORIENTATION SESSION
     On the first day of class, a WCMA staff member will be available from 6:30 a.m. to
     7 a.m. to greet you at the WCMA’s main entrance and direct you to the Orientation Room.
     Promptly at 7 a.m. all participants will receive a general orientation to the WCMA
     which will include a discussion of issues such as lunch, breaks, etc.


     PARTICIPANT SIGN-IN
     It is extremely important you sign the the Attendance Sheet each day you are in class. You are
     attending class during paid time, and your plant may require a daily sign-in from you in order to
     process pay and for you to receive credit for completion of a class.

      CLASS TIMES
     Full day classes begin at 7 a.m. and end at 3 p.m. In addition to a lunch break, there
     are other breaks, which will be explained by the trainer. Some courses may have specific
     time schedules. These will either be listed in the course description or provided with the
     registration information.

     Covering all the course objectives can only be achieved if everyone is prepared and CLASS
     BEGINS ON TIME. Consideration in this matter is greatly appreciated by other course
     participants and the trainer.


      TRAINING MATERIALS
      At the beginning of each course, you will receive training materials and manuals related
      to that course. Equipment for hands-on training will be available in the classroom or lab
      area. In addition, the Resource Library and all its materials will be made available to
      provide any additional information or review on a specific topic or piece of equipment.


      CLOTHING REQUIREMENTS
      The World Class Manufacturing Academy adheres to the same dress code as Chrysler
      Group LLC. There are also specific mandated requirements for some courses. The courses
      and their requirements are as follows:

               • Welding Classes − Participants must be prepared to weld and must wear
                  appropriate clothing.
               • Geometric Dimensioning & Tolerancing (GD&T) − No canvas or open toe shoes.
                 * Apprentices: please see page 8 for more information.

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       MEALS & REFRESHMENTS
      The WCMA will provide lunch for all training participants. You will receive details during
      the Orientation Session.
      Your class will be assigned a specific lunch time, which will lessen your wait. Adherence to
      this schedule is very important. The cafeteria provides lunch for all the functions at the
      WCMA, and up to 350 people may be served each day.
      Break areas that provide coffee, tea, and hot chocolate are located throughout the building.
      Vending machines are located outside the main cafeteria and in the 1500s corridor.
      Food and beverages are NOT to be taken outside the break areas or cafeteria. There
      should be no food or drink in the classrooms.

       SMOKING POLICY
       The World Class Manufacturing Academy is a smoke-free building. A designated smoking
       booth is available outside the main entrance, along the southeast corner of the building.

       COURSE QUALITY ASSURANCE
       Upon completion of each class, participants will be asked to fill out a course/trainer
       evaluation. The results will be recorded and reviewed to ensure quality and course
       relevance to your needs. Your suggestions will be reviewed and carried out as appropriate.
       MEDICAL SERVICES
       The WCMA staff will arrange non-emergency medical services. Please contact the
       registration desk, should you be in need of non-emergency medical attention.
       If there is a medical emergency involving you or a classmate, call the WCMA Security Desk
       (the number is posted on the phone). They will give you directions and assist as necessary.




      BUILDING EMERGENCY
      Fire exit route maps have been placed throughout the Academy. Follow your instructor’s
      directions if there is an emergency.

     EMERGENCY CONTACT
    In the event someone needs to reach you for an emergency during the day, they can call
    800-683-8840, 6:30 a.m. to 3 p.m. Eastern Time. If there is an emergency after normal working
    hours, out-of-town participants can be reached at the Sterling Inn at 586-979-1400.

    INCOMING PHONE CALLS/MESSAGES
    If your family or another party needs to reach you in a non-emergency situation, a message
    may be left with the Message Center at 800-683-8840 between 7 a.m. and 3 p.m. Eastern
    Time. Messages will be forwarded to your trainer.

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     The Training Program provides newly indentured apprentices with formal training,
     including:
           • 40 hours of Generic Trade Training
           • 80 hours of Health and Safety Training and
              World Class Manufacturing Fundamentals
           • 80 hours of Trade-Specif c Core Skills Training



     CLOTHING REQUIREMENTS
     The WCMA adheres to the same dress codes as Chrysler Group LLC. There are, however,
     safety considerations that mandate requirements for some courses. Please remember that:

            • You should be prepared for hands-on work projects by wearing
              work clothing and appropriate shoes.


            • You will be provided appropriate safety equipment such as safety glasses and ear
              protection as necessary.




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                                    METRO DETROIT MAP
                       DIRECTIONS TO THE WORLD CLASS MANUFACTURING ACADEMY

              • Take I-94 EAST to I-75 NORTH. (If coming from Metro Airport.)

              • Continue on I-75 NORTH until you reach the JOHN R/9 MILE ROAD
                EXIT (EXIT #60), which will be on your RIGHT.

                                                                         continued next map ➙




                                         DETROIT AREA




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                                       WARREN AREA MAP
                     Directions to the World Class Manufacturing Academy

              • Exit the freeway and make a RIGHT (GO NORTH) at the first set of traffic
                lights onto JOHN R. ROAD.

              • Continue straight ONE BLOCK to the next set of traffic lights and make
                a RIGHT (GO EAST) on 9 MILE ROAD.

                                                                         continued next map ➙



                                              WARREN AREA




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                                    WCMA AREA MAP
                     Directions to the World Class Manufacturing Academy

              • Continue going STRAIGHT about 1 1/2 MILES, cross DEQUINDRE
                ROAD, and after 1/4 MILE, the TTC will be on the RIGHT HAND SIDE
                (SOUTH SIDE) of 9 MILE ROAD.

              • You will see the ENTRANCE to the PARKING LOT and TRAINING
                FACILITY on the RIGHT HAND SIDE (SOUTH SIDE) of the STREET.

                               (If you cross WARNER ROAD, you have gone too far.)



                                                    WCMA AREA




                                       World Class Manufacturing Academy
                                            2500 E. Nine Mile Road
                                               Warren, MI 48091



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1.
T
      Letter Agreement concerning Health and Safety
      Training Research
                                                                             8
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                                                                          •'lie event this Fund is depleted. subseqUellt funding for future
       ":"!ally, the Grievance Procedure set       .
  ~~m~g                                                th~
                                                   1                       _)eCurrin9 expenses. if approved by the Joint ActivitieS Board.
                 Agreement shall have no forth ':'        Col1ectNe         liilll be made available through NatiOOlll Training Funds.·
                                                application to, or,
  Junsdiction over, any matters related to the Program.
                                                                          · Funding for research wlU not exceed the amount of the unspent
       Very truly yours,
                                                                            iese&rch fund under the 2003 Agreement plus an amount
                                                                            When added to this unspent balance. would total #1.200.000 for
       DAIMLERCHRYSLER CORPORATION
       By J. Franciosi                                                     iesearch pro;ects for the duration of this Agreement

                                                                           .:      The parties recognize the need to better coordinate all joint
 Accepted and Approved:
                                                                           training efforts at the operating unit level. As each unit is jointly
                                                                           dellelopinQ local training priorities based upon such analysis.
  INTERNATIONAL UNION UAW
  By Nate Gooden     '                                                     they win be asked to make health and safety a part of this
                                                                            process.
                                                                      .          To support this process, the parties agree to utilize joint
 October29,2007                                                       i     health and safety funds to partially subsidize the cost of local
                                                                            health and safety training efforts. A formula for this subsidy will
                                                                            be developed annually by the National Joint Committee on
                                  (110) Funding - Health and Safety         Health and Safety and approved by the UAW-Chrysler Joint
                                            Training and Resescti
                                                                            Activities Board.
 International Union, UAW
                                                                                    Very truly yours,
 Attention: Mr.~~                                                                   CHRYSLER t.LC
                                                                                    By J. Franciosi
 Dear Sirs:
                                                                                Accepted and Approved:
     In the Memorandum of Understa d.1
 which supplements the               p n !19 - Health and Safety                INTERNATIONAL UNION, UAW
 Agreement the   rties   2001
                           · · · - · _roduction and Maintenance
 and safety ~          agree to direct and support joint health                 By~~
                              .
include providing ~::!,,,°: ~nal and local levels. These
enhance the safety awa JOI health and safety training to
technical skills of Chrysler e:~~~~ recog~n. and                                September 27, 1999
be ~ by the plants and Local             Join7'°"ing guidelines ID                                             (111) National and Local Training
Committees to design local lrai .             Health and Safety
review and approve such         mng programs and a system to
He:alth and Safety Trainingp~=; ~nd esta~ishing a ~oint                         International Union, UAW
Joint Committee on Health      d ..~~ to aid the National
                             an ~ ......, 1n attaining its training


                         = :.:oouct
objectives.                                                                     Attention: Mr. S1ephen P. Yokich

     The parties also ag              .                                         Dear Sirs:
Understanding - Health   as set forth in the Memorandum of
~ occupational health ~                      mutualy agreed                           DaimlerChrysler Corporation and the UAW reaffinn the
                                                                                 need to continue and expand the National Training Center
improve communications between Ch to explore methods to
health and safety areas.            rysler and the UAW in                        Program. Furthermore. the partie8 pledge to continue providing
                                                                                 the resources necessary· to assure that all employeeS receive
                                                                                 training and development opportunities in order to produce a
      To ensure   adequate fundin 9 for the above desaibed
             the ,.~
activities                                                                       highly motivated. capable workforce that continually improve$
                 ~·-~ will make available funcli     at
cents per hour worked for health and --L-ty tra' ng . ~r (4)
           '                                                                     its own and the Corporation's ability to succeed in an
                                     """'"     ming activities. In
                              136                                                                              137
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            1.
            2.
                  Tuition Assistance Overview
                  Tuition Assistance Reference Manual
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                    Tuition Assistance Plan Overview

Who is eligible?

Only active employees are eligible. An active employee is defined as one who:
    Has achieved seniority
    Is on temporary layoff
    Is on Military Leave of Absence
    Employees on sick leave are not eligible for TAP.

Benefit Level

The Tuition Assistance benefit level provides up to $5,000 per calendar year for job-related
degree-seeking courses at nationally and regionally accredited universities. For tuition
assistance questions please contact your local TAP representative.

Requesting a Degree

All degree program requests will be reviewed by TAP administrators. The TAP office may
request you or your educational institution provide verification of degree. Misrepresentation of
degree programs for which classes have been requested may result in the immediate
suspension of TAP benefits. Employees will be responsible for payment of all classes deemed
ineligible.

Application Process

TAP is designed to be a pre-paid program; however, when an approved school will not accept a
Voucher, the employee must pay the school directly. You must contact the local TAP
representative for reimbursement forms and instructions. All reimbursement requests must be
mailed to the TAP office for TAP Committee review to determine eligibility.

Tuition assistance applications must be submitted online 21 days prior to the start of
class(es). TAP Online can be accessed through Dashboard under the Development tab or
www.uaw-chrysler.com. Paper applications will no longer be accepted.

Approval Process

For approved classes, a TAP Voucher will be sent to the email address provided. This Voucher
should be treated like cash or a check – it is payment to the school for your tuition. Print and
sign it before presenting it to your educational provider. The Voucher is not valid without a
signature.

If your application is denied, you will receive an email providing an explanation.
If a class for which you were approved is full or cancelled, you may substitute an equivalent
course. However, the course must be approved by the TAP Committee prior to class start date.
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Refunds that result from dropping a class must be returned to the TAP office.

Covered Fees

TAP benefits include payment of certain fees. Duplication of tuition or fees already covered by
state or federal education assistance plans or programs is prohibited (such as Pell Grants and
scholarships.)

Payment Process

Upon receipt of Voucher, it is your responsibility to present it to the school. This authorizes the
school to invoice TAP and ensures that payment will be made.

It is also your responsibility to follow up with the bursar’s or accounts payable office at your
school to ensure that the TAP office has been billed for the class.

The TAP Voucher will expire 120 days after the completion date of the class.

Within 30 days of the end of the school term, you must verify completion of all class(es)
by entering your grades online and submitting a grade report to the address, email or fax
listed below. Failure to do so may result in the delay of future TAP benefits or
suspension of TAP benefits. UAW-Chrysler NTC will not be liable for courses
withdrawn/dropped after the school’s designated drop deadline requiring payment.
Payment will be the sole responsibility of the student.

If you do not use your Voucher, send an email to tap@ucntc.org requesting your Voucher be
voided. Please include your name, CID, Local and Voucher number.

School Eligibility

All educational institutions and job-related degree-seeking programs must be approved by the
UAW-Chrysler TAP committee. The schools must be accredited by a nationally or regionally
recognized agency.

The National Training Center has the authority and discretion to interpret the terms of the
Plan under the provisions of the Memorandum of Understanding on Joint activities (M-9).
This authority includes, but is not limited to, the authority and discretion to approve
schools and courses under the Plan and to issue guidelines interpreting the Plan.
/at:opeiu512




                                         UAW-Chrysler
                                 Tuition Assistance Plan Office
                                     2500 E. Nine Mile Road
                                    Warren, Michigan 48091
                                          (586) 427-6757
                                       (586) 427-6747 – fax
                                          tap@ucntc.org

                                                                                       Revised: January 2, 2014
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                 UAW-DaimlerChrysler National Training Center Reference Manual

                                        Tuition Assistance Program
                                     Scholarship for Dependent Children
                                         Retiree Tuition Assistance


Program Description
The Tuition Assistance Program (TAP) provides up-front tuition assistance for courses students attend
at approved schools. The National Agreement breaks TAP into three separate programs:

        TAP for workers                                    (for UAW-represented DaimlerChrysler workers)
        Retiree TAP                                        (for retired UAW-represented DaimlerCbrysler
                                                           workers)
        Scholarship for Dependent Children                 (for the eligible dependent children ofUAW-
                                                           represented DaimlerChrysler workers and retirees)
 Program History and Related Contractual Language
 • TAP for workers was one of the original National Training Center (NTC) joint programs. The TAP ~
    program replaced a corporate-funded, corporate administered tuition reimbursement program.               · 't·
 • The NTC joint committee administers the TAP program with assistance from IDEA Consultants,
    Inc., an outside consultant hired by the NTC to process all applications, vouchers and payments for
    the program. IDEA has provided service in this capacity since the inception of the program.
 • The P, M and P Letter 106 of the National Agreement between the UAW and Chrysler authorizes
    the Tuition Assistance Plan. The 1985 Agreement states that the joint parties " ... reaffirmed the
    necessity of providing active and laid-off employees opportunities for education and training."
 • The 1985 Agreement stated that the maximum annual benefit levels would be:
                 $2,250 for college courses
                   1,500 for job-related courses
                   1,250 for " ... courses not related to the employee's current job assignment. .. "
                  5,500 for laid-off employees
• In 1988, the Agreement language and its benefit amounts did not change.
• The 1990 Agreement added language to allow Union officials on leave of absence to be eligible for
    the assistance. The program also included new provisions for the payment of Prior Learning
    Credits, and expanded the benefit levels:
                $2,800 for college courses
                  1,800 for job-related courses
                  1,250 for courses not related to the employees current job assignment
                  6,000 for laid-off employees
• New language was added to the 1996 Agreement as a direct result of legal questions raised in the . 1
   administration of the program. The sentence ... "The National Training Center has the authority                 ·
    and discretion to interpret the tenns of the Plan, including but not limited to, the authority and
   discretion to approve schools and courses under the Plan and to issue guidelines interpreting the
   Plan." ... was added to protect the program from future legal challenges on school or course
   approval.
• The new maximum benefit level maximum for the program in 1993:
                $3,100 for college courses
                  1,900 for job-related courses
                  1,350 for courses not related to the employee's current job assignment
               $7 ,000 for laid-off employees
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                                                                                                      2
 •  There were major additions to the program as a result of 1996 contract negotiations; Two new
    Letters were negotiated providing two additional tuition assistance benefits:
        • Letter 191 (P, M, and P Agreement) authorizes the Retiree Tuition Plan. The Retiree TAP
            program allows retired UAW-DaimlerChrysler workers to receive tuition assistance for
            courses taken at the plant or union local from which they retired. The maximum annual
            benefit was $1,000.
        • Letter 194 established the UAW-Chrysler Scho1arship for Dependent Children. The
            Scholarship program allows eligible dependent children of UAW-represented Chrysler
            workers to receive tuition assistance for approved college and vocational education courses.
            The maximum annual benefit per child was $1,000.
 • The 1996 Agreement also provided increased annual maximum benefit levels for the Letter 106
    TAP for workers program:
                  $3,800 for college courses
                   2,050 for job-related courses
                    1,500 for courses not related to the employee's current job assignment
                  $8,000 for laid-off employees
       • Provisions were also made in Letter 106 to allow some students to take courses such as
            ... "Certain job-related seminars, correspondence, and home study programs ... " with
           approval from the National Training Center.
       • New language in Letter 106 also was written to specifically address the needs of workers
           who exhausted the annual college course benefit level. The worker could now "borrow" up
           to $1,000 from the next year's eligible assistance, called an Advance Payment
 • In 1999, only the college course tuition benefit level was increased in Letter 106. The annual
   maximum benefit levels for other TAP for workers categories remained the same:
                 $4,200 for college courses
                   2,050 for job-related courses
                   1,500 for courses not related to the employee's current job assignment
                 $8,000 for laid-off employees
• The new benefit maximum for Letter 191, Retiree TAP was increased to $1,250.
• The new benefit maximum for Letter 194, Scholarship for Dependent Children was increased to
   $1,250.
• The 2003 Agreement increased the annual maximum levels of tuition assistance for college courses
   and the other two category levels remained the same. Benefits for laid-off workers increased:
                 $4,600 for college courses
                  2,050 for job-related courses
                   1,500 for courses not related to the employee's current job assignment
                 $8,400 for laid-off employees
• The new benefit maximum for Letter 191, Retiree TAP was increased to $1,500.
• The new benefit maximum for Letter 194, Scholarship for Dependent Children was increased to
   $1,500.

Intent of the Language
The intent of all three tuition assistance programs is to provide a benefit 'to workers, retirees and
children of workers.

Supporting Documents
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Beneficiaries
       Primazy beneficiaries - The UAW-represented Daimler Chrysler workers are the primary .
       beneficiaries of this program. Each worker is able to select courses and pursue personal
       educational goals with monetary assistance from TAP.
       Secondary beneficiaries - Retired UAW-represented workers also 'benefit from the limited
       assistance provided them and to their dependent children.
       The dependent children of worker:; l:lQd retirees also receive the benefit of this negotiated
       program.


Utilization and Program Budgets History

       With each new contraet, and the increases in benefit levels the budget for TAP has increased.
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             Tuition Assistance Plan (TAP) Flow Chart




                      Corporate Check Writer
                       mails check to school
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                                 Tuition Assistance Program
                                   Flow chart explanation

   The Tuition Assistance Program (TAP) is comprised of three (3) separate programs, each
   negotiated in a separate letter in the Agreement between the UAW and DaimlerChrysler.
   Although many sub-processes are involved in the program's administration, primarily the
   procedure is to receive applications for tuition assistance and process the applications for
   the students. The flow chart and explanation below outline the general process for
   students to receive tuition assistance.

   +   Worker obtains application, completes and submits the form to the TAP office for
       processing.

   + The TAP office:

       +   Dates the application
       +   Verifies the worker is contractually eligible for the program
       +   Verifies that the school and course meet the program standards
       +   Verifies that the worker has funds available

   + If any of the above verifications indicate that the student, school or course is not
       eligible under the program, further processing is needed.

       + An ineligible student is checked again for eligibility, and if the system rejects the
         worker's employment status, a denial letter is sent to the worker
       + On-site: A new course or school is referred to the TAP Curriculum review
         committee if the course is to be conducted on-site at a DaimlerChrysler facility, or
         an NTC Regional Center
       • Off-site: An application for a new course or school held off-site or online is
         reviewed by the TAP office for accreditation, cost, state licensing and other
         criteria standards set by the committee
       • If the school or course does not meet NTC TAP standards, a rejection letter is sent
         to the worker

  + If the TAP application is approved, a voucher is sent to the worker to sign and submit
       to the school

  + The school invoices the NTC, after the appropriate drop-add period criteria is met, for
       the amount of tuition approved

  •    The TAP office processes TAP payments to schools monthly by submitting tapes to
       the DaimlerChrysler CheckWriter system for monthly TAP payment runs

  + DaimlerChrysler CheckWriter mails a check to the school
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                                                   Circle of Life Programs


          Program Description

          The Circle of Life Program, formerly known as Child/Elder Care Program, was developed to assist
          UAW-represented employees with work/family issues that they face on a daily basis. For the past
          seven years, the Circle of Life Programs, along with corporate-sponsored programs servicing non-
          represented employees, has been awarded recognition, positioning DaimlerChrysler on Working
          Mother magazine's list of "100 Best Companies for Working Mothers".

          Currently there are nine (9) programs that fall under the Circle of Life umbrella:

          Alliance for Children & Working Families (Alliance) After-School Program is a collaboration between
          the joint programs at NTC, Ford and GM, and Communities in Schools to provide after-school
          programs to Alliance children and the community. In 2000 the Alliance partnered with Communities
          in Schools, 10 Detroit area schools, and their community partners to help give kids the opportunity to
          reach their full potential through after-school programs.

          The Dependent Care Assistance Plan (DCAP) offers UAW-represented employees the opportunity to
          contribute up to $5,000 of pre-tax income into an account to help cover the costs of child care, before
          & after school programs, summer camp, or care for an elderly dependent family member. Available to
          employees since June 2000, participants determine their spending limit for the upcoming year. The
          money is then deducted from paychecks and deposited into a DCAP account and claims are filed
          throughout the year.

          The National Child Care Network program was created solely for UAW-represented employees of
          DaimlerChrysler. This program offers a 10% discount on the cost of childcare at approximately 1,600
          childcare centers across the country. Participating centers affiliated with national chains, as well as
          centers operated independently must meet the highest national childcare quality standards and are
          periodically monitored for quality. Centers not meeting the quality standards are removed from the
          Network. Additionally, materials have been developed to increase employees' awareness in
          identifying a quality childcare center to assist in selecting the right center to meet their child's needs.

          The Safe at Home Program provides Detroit area UAW-represented employees low cost
          emergency/back-up care for their children when their regular child care arrangements aren't available,
          or their child is too sick to attend day care or school. Upon request by the employee, this program will
          send a qualified caregiver to their home to provide the care needed so they can go to work. NTC
          subsidizes 80% of the cost of this service for up to 80 hours of care per year.

          Implemented in 1991, the Family Resource & Referral Program offers a comprehensive menu of
          services especially designed to promote work and family balance. Covering the full life cycle,
          employees can access this free program 24 hours a day, 7 days a week by calling an 800 number to
          speak with a Care Consultant. Care Consultants are trained and specialize in work/family/life topics.
          In addition to making referrals to services available in the community, they provide books, videos,
          CD's and literature based on employee's needs. Additionally, employees can also access thousands of
          "helping hand" sheets and related articles to help enrich their families' lives through NTC's website.
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     Ask the Expert Sessions, formerly Parent Education Sessions provide qualified on-site Work/Life
     consultants in two-hour stints to offer brief educational consultations and materials to employees on a
     variety of work/life topics at all UAW-represented DaimlerChrysler locations. Training facilitators
     select topics drawn from a list of approximately 150 work/life topics.

     NTC provides a 20% subsidy for the school age Summer Camp Program for a network of 17 licensed
     summer camps in the metro Detroit area for the chilrlren of UAW-represented employees. Summer
     camp selection is based on zip codes highly populated with UAW-represented DCX employees.
     Summer camps provide quality programs, recreational activities, and enrichment programs.

     The YMCA of Greater Toledo has provided before & after school programs and summer camps since
     December 2000 at 45 Toledo-area locations for UAW-represented families. NTC provides a 20%
     subsidy for these services, which was expanded to provide early openings and late closings at select
     locations to accommodate 1st and 2"d shift employees.

     Introduced in 2003, the Elder Care Geriatric Assessment Program is the most recent addition to the
     Circle of Life Programs. This nationwide program helps employees determine what professional
     services are available to help with the care of their elderly family members. Active UAW-represented
     employees can obtain a free consultation to determine their eligible elderly family member's needs -
     then get help finding solutions. Initial observations, written assessments of services recommended
     and resources available are compiled and passed on to the employee or elderly family member.

     Program History and Related Contractual Language

     During 1985 negotiations and in each subsequent agreement, the Corporation and the UAW
     acknowledged that child care was one of the most important issues facing our employees. As a result
     of this acknowledgement and through Letter 104, several programs were developed to assist employees
     with work/family issues faced on a daily basis. In 2002 a decision was made by NTC to assign an
     identity to these programs depicting the cross-generational scope of the resources available to UAW-
     represented employees. Designed to promote and encourage greater use of these services, as well as
     reflecting the wide range of assistance available, child/elder care became Circle of Life Programs.

     In 1997 the NTC, together with committees from UAW-Ford and UAW-GM collaborated in an effort
     to develop and identify cost-effective, efficient ways to make additional and higher quality child care
     and consumer education services available to UAW-represented employees of the Big Three
     automakers. Through this collaboration, called The Alliance for Children and Working Families, there
     were nine (9) programs developed. While some programs were discontinued due to inefficiencies or
     budget cuts, and with individual companies moving in different directions with respect to ongoing
     programs, the language in Letter 104 supports continuation and expansion of Alliance programs.

     The current programs are listed under Program Description; however listed below are several programs
     that were piloted, but have since been discontinued either due to budget constraints or low utilization.

     Huntsville Child Development Center                 Child Care Apprenticeship Program
     Alliance Close to Home Program                      Alliance Back-up Care Programs
     Alliance Summer Camps                               Alliance/Communities in Schools Summer Camps
     Alliance Summer of Services Program                 Alliance Priority Child Care Program
     Gathering Place discounted care                     Gathering Place emergency/back-up care
     Convenience and Concierge services
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     The key discontinued program was the Huntsville Child Development Center. Opened in 1992, the
     center was considered state-of-the-art and was quickly benchmarked as one of the best in the country.
     Due to low employee utilization and the high costs relating to running the center, in August 2003 a
     decision was made to close this facility.

     Listed below are new programs the Committee has investigated developing. Requests for Proposals
     were completed; however due to lmdget constraints, were never implemented.

     >   Nationwide expansion of back-up/emergency care programs in pilot locations
     >   Expansion of National Child Care Network to include in-home care centers in pilot locations
     >   Discounted priority care in pilot locations
     >   Partnering with Rainbow Rascals to build child care facilities in Kokomo and at the Technology
         Training Center in Warren

     Intent of the Language

     The intent of the language of Letter 104 provides that "child and elder care are two of the most
     important issues facing our employees". Initiated in the 1985 Agreement, it has been expanded in
     every agreement since that time to include additional or enhanced services. The language affirms that
     these programs are considered priority by the joint partners and allows continued research,
     development, oversight, and monitoring of child and elder care programs. The language also enables
     NTC funding for programs and services supporting employee's work/family needs.

     Supporting Documents

     >   National Child Care Network flyer
     >   Safe at Home flyer
     >   Summer Camp flyer
     >   DCAP flyer
     >   Resource & Referral flyer
     >   Elder Care Geriatric Assessment Program flyer
     >   Alliance for Children and Working Families After-School Program flyer

     Beneficiaries

     Primary Beneficiaries - UAW-represented DaimlerChrysler employees and their families through
     NTC's support with programs for employees to help balance their work and family needs.

     Secondary Beneficiaries - By easing the stress that some employees may experience in their personal
     lives and which may affect their co-workers, these programs also benefit the DaimlerChrysler facilities
     in which these employees work, encouraging quality work and lower absenteeism.
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                                    Employee Assistance Program

Program Description

The UAW-DaimlerChrysler Employee Assistance Program (EAP) is a joint program for hourly and
salaried UAW-DaimlerChrysler employees that provides referral services to resources that can assist
employees with personal problems that affect job performance and personal well-being. These
services not only apply to employees of DaimlerChrysler Corporation, but in some instances are also
extended to family members of the employee as well.

The program takes a "broad brush" approach in providing referral services. Substance abuse and
mental health problems are addressed, but so are other life impacting issues such as financial, stress,
grief and loss, domestic violence, gambling, eating disorders, family problems, etc.

Referral services may be arranged through a trained EAP Representative at the local plant level, or
self-initiated through a National Hotline contact service. Either method of entry into the EAP is
designed to provide confidentiality of services while maintaining the dignity and respect of the
employee seeking assistance. Referrals into the EAP may also be made by a friend, fellow employee,
family member, supervisor or union representative. The Program is voluntary in that employees are
not obligated to act on a referral, and cannot be penalized for seeking assistance through the EAP.

Components of the Employee Assistance Program include:

• Employee Assistance Representatives - composed of both UAW and management employees who
  have been trained to conduct intake, referral, follow-up and program promotional activities.

• UAW-DaimlerChryslerNational Training Center National EAP Steering Committee-
  responsible for developing and delivering training programs that support the use of the
  EAP, facilitate the operation of the EAP, promote Program use, assess the
  effectiveness of the Program and serve as a process advisor for EAP Representatives.

• Managed Care Unit (MCU) - serves as a referral agent for employees who elect to
  secure assistance through the National Hotline method. The MCU also determines the
  most appropriate sourcing for employees working through the local EAP
  Representative and performs administrative services facilitating the process.

• Critical Incident Response Team (CIRT) - Composed of the members of the National
  EAP Steering Committee and a Mental Health Professional. The Team is deployed to
  locations where a traumatic event has occurred that is beyond the scope of normal
  experience, and that has affected the ability of a significant number of employees to
  perform normal work requirements. Deployment is initiated through a joint request by
  the Ranking members of management and the UAW, and usually is effected within 24-72
  hours of the event.

Operating Philosophy of the EAP:

•      Employees are employees for only part of the day. "They are 24 hour people."
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 •       In addition to work related problems, problems affecting employees on the outside can also
         affect employees on the job, thereby reducing their job effectiveness.

 •       By enabling employees to address problems that can potentially impact their ability to perform
         job responsibilities, both the employee and the corporation benefit.

•        EAP Representatives on site can assist an employee who may be reluctant or uninformed about
         how to seek help on their own.

•        Managed care units help reduce program costs by sourcing employees to the best suited and
         most cost efficient means to obtain program services.

•        Early intervention and referral to the appropriate resource(s) maximizes the number
         of options available and improves the chances for successful resolution of the
         issues involved.

Program History and Related Contractual language


In 1935 a number of events occurred that all formed the foundation for development of Employee
Assistance Programs.

• The UAW was formed - a union founded on the principle of improving work
  conditions for represented employees.

• The Social Security Act was passed and provided a "safety net" for employees of
  retirement age or who were otherwise unqualified for work as detailed in the Act.

• Alcoholics Anonymous was formed which is the basis for all subsequent Employee
  Assistance Programs.

In the 1950's Lou Presnel was brought in to run a counseling operation for alcoholism at Kenicott
Mines. He extended assistance to other areas which eventually became recognized as the modem basis
for EAP programs, e.g., substance abuse, family problems, mental problems, etc. Approximately 10
years later the John Deere Company became first major manufacturer incorporating language
pertaining to treatment of alcoholism. By the 1970' s employee benefit coverage emerged for treatment
of alcoholism.

U.S. Senator Hughes was instrumental in passing an Act establishing the National Institute on Alcohol
Abuse and Alcoholism. The Occupational Programs Branch promoted a joint management and Union
approach to developing EAP's. It gave money to states to train and develop personnel to deal with
employee assistance issues (2 per state, to become known as the "Thundering 100").
In 1973 a joint Alcohol/Substance Abuse Program letter established a local level program at Chrysler
Corporation . However, no resources were allocated to support it. It was followed in the 1976
National Agreement by establishment of the CURB Program, "Chrysler-UAW Alcohol and Drug
Abuse Recovery Benefit Program." CURB representatives were appointed and the Program was
implemented in the following two years.

In 1985 the UAW-DaimlerChrysler National Training Center was given CURB Program development
responsibilities. Recognizing the need to expand the limited scope of the CURB Program, in 1986 an
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EAP sub-committee was formed that directed the appointment ofEAP representatives at each facility,
created training program supports, and established overall Program administrative responsibility.

Letters # 109 and #3 provide contractual language for creation and maintenance and reporting
requirements for EAP programs. Letter 109 states in part, "It is the Corporation's Union's mutual
interest to provide a framework within which UAW-represented employees voluntarily and
confidentially may seek professional counseling, treatment. family interventions, or other assistance
and information about which benefits are available to address such problems."

Letter 3 states in part, " ... the International Union, UAW may appoint an Employee Assistance
Program (EAP) Representative from among those employees who have seniority under the National
Production and Maintenance, Office & Clerical ... Agreements ... " The original language of the
Agreement establishing the EAP at DaimlerChrysler was adopted in 1988, and revised in subsequent
Agreements to include Critical Incident Response Teams in 1993 and Workplace Violence Prevention
Programs in 1996. The program was continued Agreements reached in 1999, and 2003.

Intent of Language

The intent of the collective language pertaining to the Employee Assistance Program, Critical Incident
Response Teams, and Workplace Violence Prevention Program is to provide a comprehensive means
to address issues that can adversely affect the productivity and lives ofDaimlerChrysler employees in
a preventative fashion where possible, and in a remedial means where required.

EAP Training Certification

In the 2000 National PM&P Agreement the EAP Training Certification Program was created. This
program consists of twelve (12) different EAP core technology courses. The curriculum was
expanded from Western Michigan University's Health and Human Services undergraduate Employee
Assistance major into a seminar format developed for the UAW-DaimlerChrysler National Training
Center. Course topics are:

1.    Introduction tom EAP: EAP Structure and Process in the Work Setting
2.    EAP Assessment Interviewing
3.    EAP Consultation and Interviewing
4.    EAP Administration

Beneficiaries

The employee benefits from the Employee Assistance Program by having a means to access helpful
resources for themselves and their families in a confidential and supportive manner.

The Corporation benefits from the Employee Assistance Program by maintaining a productive and
focused workforce.

Family members benefit from the Employee Assistance Program by having resources at their disposal
to address personal and family issues that if left unresolved, could affect the employee's ability to
maintain employment status with the Corporation.

UAW and DaimlerChrysler leadership benefit from the program by having a defined system in which
to resolve issues that could jeopardize employee safety or job status.
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                                     Employee Assistance Program

Flow Chart Description

• There are a number of ways to connect an employee in need with appropriate helping resources.
  The employee may initiate the process by either contacting an Employee Assistance Program
  Representative, or by contacting the service provider or managed care unit directly.

•    A referral to the EAP Representative may also be made on behalf of the employee by a UAW
     Representative, supervisor, co-worker, family member, or the plant Medical Department. The
     referral is not mandatory and may be declined by the employee. However, if accepted, the
     employee will be assisted by a trained EAP Representative who will guide the employee in
     determining the problem to be addressed, effecting a referral to the approppriate service provider,
     and performing follow-up activities in a confidential manner. The EAP Representative is
     supported through the Joint NTC EAP National Steering Committee.

• The EAP Representative will work with the Managed Care Unit if the insureance carrier is Blue
  Cross/Blue Shield to source employees to the appropriate provider(s). Assistance will also be
  provided to connect employees with non-Blue Cross/Blue Shield insurance carriers directly for
  services.

• The EAP Representative will track and perform follow-up services for employees using the
  managed care unit as a contact point between the employee and the service provider.
